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UNITED STATES DISTRICT COURT j 7 MAG 42 9 l

SOUTHERN DISTRICT OF NEW YORK

ln the Matter of Warrants for All

Content and Other Information TO BE FILED UN])ER SEAL
Associated With Four Email Accounts,

TWo Dropbox Accounts, Two Twitter § AGENT AFFIDAVIT
Accounts, and Three lnstagram -

Accounts

USAO Reference No. 2017ROOl 16.

Agent Affidavit in Support of Application for Search Warrants
for Stored Electronic Communications

STATE OF NEW YORK )
) ss.
COUNTY OF NEW YORK )
JOSEPH T. COSTELLO, being duly swoin, deposes and states:

I.Introduction

A. Affiant

l. I have been a Special Agent With the Federal Bureau of Investigation (“FBI”) for
approximately three years. Prior to joining the FBI, I served as a Special Agent With the U.S.
Department of State; Diplomatic Security Service, for approximately five years. For the last
approximately two years, I have been assigned to the FBI’s NeW York loint Terrorism Tasl<: Force
(“JTTF”). During this time period, l have participated in numerous investigations of unlawful
activity, principally national security related matters and crimes relating to immigration fraud.
During the course of these investigations, I have conducted or participated in surveillance, the
introduction and debriefings of informants, and the execution of search Warrants. Through my
training, education, and experience, I have become familiar With various terrorist organizations, as
Well as the manner in Which terrorists are recruited, receive training, and operate, and some of the

methods that are used to conceal evidence of participation in such illegal ‘activity. I have received

 

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training in the 'use of computer technology by terrorist networks and have participated in
investigations involving the use of computers, the Internet, and social media by terrorists and
terrorist organizations Through my training and experience, I have become familiar with some of
the ways in which terrorists and terrorist groups use the lntemet, including social media and email,
to promote their activities, recruit new'members, and issue threats, and l have also participated in
the execution of search warrants involving electronic evidence.

B. The Providers, the Subject Accounts and the Subject Offenses

2. l make this affidavit in support of an application for search warrants pursuant to Title
18, United States Code, Section 2703, for all content and other information associated with the
following “Subject Accounts”: l

a. The email account holy.smoke.shop.franklin@gmail.com, which is maintained
and controlled by Google, Inc. (“Google”), headquartered in Mountain View, California;

b. The email account jacob.kouran@gmail.com, which is maintained and
controlled by Google;

c. The email account wmc.sportswear@gmail.com, which is maintained and
controlled by Google;

d. The email account jacobfashion@hotmail.com, which is maintained and
controlled by Microsoft Corporation (“Microsoft”), headquartered in Redmond, Washington;

e. The Dropbox account associated with the email address
ali.m.kourani@gmail.com, which is maintained and controlled by Dropbox, lnc. (“Dropbox”),
headquartered in San Francisco, California;

f. The Dropbox account associated with email address alikul<u@hotmail.com,
which is maintained and controlled by Dropbox;

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g. The Twitter account associated with the email address
ali.m.l<ourani@gmail.com, which is maintained and controlled by Twitter, lnc. (“Twitter”),
headquartered in San Fr‘ancisco, California;

h. The Twitter account associated with the email address alil<ul<u@hotmail.com,
which is maintained and controlled by Twitter;

i.. The lnstagram account associated with the email address
ali.m.l<ourani@gmail.com, which is maintained at premises controlled by Facebool<, lnc.

(“Facebook”) and lnstagram LLC (“lnstagram”), headquartered in l\/lenlo Parl< and San Francisco,

Califomia; l

j. The lnstagram account associated with the email address

alikuku@hotmail.com, which is maintained at premises controlled by Facebool< and lnstagram;

and

k. The lnstagram account associated with the email address

jacob.kouran@gmail.com, which is maintained at premises controlled by Facebook and Instagram.

3. The information to be searched is described in the following paragraphs and in
Attachment A to the proposed warrants.

4. As detailed below, there is probable cause to believe that the Subj ect Accounts contain
evidence, fruits, and instrumentalities of violations of: (i) Title 18, United States Code, Section
2339B (providing, attempting to provide, and conspiring to provide material support or resources
to a designated foreign terrorist organizations (“FTO”)); (ii) Title 18, United States Code, Sections

2339D and 371 (receipt of, and attempting and conspiring to r‘eceive, military-type training from

 

1 Google, Microsoft, Dropbox, Twitter, Instagram, and Faceb'ool< are referred to herein as the
“Providers.”

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an|FTO); (iii) Title 18, United States Code, Section 924 (firearms offenses related to crimes of
violence); (iv) Title 50, United States Code, Section 1705 (mal<ing or receiving a contribution of
funds, go ods, and services to and from a specially designated terrorist); (v) Title 18, United States
Code, Section 1001 (mal<ing false statements or omissions in any matter within the jurisdiction of
the executive, legislative, or judicial branch of the Government of the United States); and (vi) Title
18, United States Code, Section 1425 (procurement of citizenship or naturalization unlawfully)
(the “Subject Offenses”). This affidavit is based upon my personal knowledge, my review of
documents and other evidence, and my conversations with other law enforcement officers, as well
as my training and experience concerning the use of email in criminal activity. Because this
affidavit is being submitted for the limited purpose of establishing probable cause, it does not
include all the facts 1 have learned during my investigation Where the contents of documents and
the actions, statements, and conversations of others are reported herein, they are reported in
substance and in part, except where otherwise indicated.

C. Services and Records of Microsof`t and Google

5. 1 have learned the following about Microsoft and Google:
a. The Microsoft and Google offer email services to the public. In particular,
Microsoft and Google allow subscribers to maintain email accounts under domain names such as
gmail.com or Hotmail.com. A subscriber using these Providers’ services can access his or her
email account from any computer connected to the Internet.

l b. Microsoft and Google maintain the following records and information with respect

to every subscriber account:

i. ' Emaz'l Corztents. In general, any email (which can include attachments such

as documents, images, and videos) sent to or from a subscriber’s account, or stored in draft form

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in the account, is maintained on servers of Microsoft or Google unless and until the subscriber
deletes the email. ilf the subscriber does not delete the email, it can remain on the computers of
Microsoft or Google indefinitely: Even if the subscriber deletes the email, it may continue to be
available on the servers of Microsoft or Google for a certain period of time.

ii. Address B00k. Microsoft and Google also allow subscribers to maintain
the equivalent of an address bool<, comprising email addresses and other contact information of
other email users.

iii. Subscrz`ber and Billz'ng Informatz'on. Microsoft and Google collect and
maintain (typically unverified) identifying information about each subscriber, including, for
example, name, username, address, telephone number, and alternate email addresses. Microsoft
and Google also maintain records concerning the date on which the account was created, the
lnternet protocol (“IP”) address of the user at the time of account creation, the current status of the
account (e.g., active or closed), the length of service, and thetypes of services utilized by the
subscriber Additionally, for paying subscribers, Microsoft and Google maintain records of the
subscriber’s means and source of payment, including any credit card or bank account number.

iv. Transactional Information. Microsoft and Google also typically retain
certain transactional information about the use of each account on its system. This information can
include records of login (z'.e. , session) times and durations and the methods used to connect to the
account (such as logging into the account through the website of Microsoft and Google).

v. Customer Correspondence. Microsoft and Google also typically maintain
0 records of any customer service contacts with or about the subscriber, including any inquiries or

complaints concerning the subscriber’s account.

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vi. Google Paymem‘s. Google allows for the storage of payment information
associated with a Google Account, including credit cards and bank accounts, and contains
information about all transactions made with a Google account, allowing for the payment for goods
(such as those purchased through Google Shopping) and bills, among other features.

vii. ` Google Drive Conz‘em‘. Google provides users with a certain amount of free
“cloud” storage, currently 15 gigabytes, through a service called “Google Drive” (users can
purchase a storage plan through Google to store additional content). Users can purchase enhanced
storage capacity for an additional monthly fee. Users can use their Google Drive to store email,
attachments, videos, photographs, documents, and other content “in the cloud” (that is, online). A
user can access content stored on Google Drive by logging into his Google account through any
computer or other electronic device connected to the Intemet. Users can also share files stored on
Google Drive with others, allowing them to view, cornment, and/or edit the files.

viii. Google Docs, Google provides users with the ability to write, edit, and
collaborate on various documents with other Google users through a service called “Google Docs.”
Users can use Google Docs to create online documents that can be stored on or saved to the user"s
Google Drive.

ix. Google Photos. Google provides users with a certain amount of free
storage that allows for users to store and share digital photographs Google also retains the
metadata_or data that provides information about the data in question, such as the time and date
of creation, the author or creator, the means of its creation, the purpose of the data, among other
data_for photos and videos that are uploaded to Google. This metadata includes what is known

as exchangeable image file format (or “Exif”) data, and can include GPS location information for

where a photo or video was taken.

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x. Google Calendar. Google provides users With an online calendar, in Which
they can add appointments, events, and reminders, Which are synchronized across registered
computers and mobile devices. Users can share their calendars with other users, allowing the

maintenance of joint calendars.

xi. YouTube Content. Google allows subscribers to maintain linked YouTube
accounts? a global video~sharing website that allows users to upload and share videos with the
public on the lnternet. Registered users can upload an unlimited number of videos and add
comments to videos.

xii. Google Chats and Google Hangouts Content. Google allows subscribers to
engage in “chat” sessions in an instant messaging format with other Google users, the transcripts
of Which are generally stored in a user’s email content. Similarly, Google allows users to engage
in enhanced chat sessions, called Hangouts, which permit the sharing of additional content such as
videos, sounds, and images. In general, Hangouts content is stored separately from a user’s email
and chat content.

Xiii. Web Hz'story. Google maintains searches and account browsing activity,
from Chrome, Google’s proprietary Web browser, as Well as other Google applications

Xiv. Locatz'on Hz'story. Google maintains recent location data, collected
periodically, from mobile devices that are logged into or have used applications (or “apps”) or
services provided by Google. For example, Google collects information collected from GPS, Wi-
Fi networks, cell site locations, and mobile networks to estimate a user’s location. Google apps
and services also allow for location reporting, which allows Google to periodically store and use

a device’s most recent location data in connection With a Google account.

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xv. Androz`d Servz'ces. Google also maintains information relating to Android,
as it relates to an account. Android is a mobile operating system that is developed by Google, and
is used on a variety of touchscreen mobile devices, such as smartphones and tablet computers.
Google retains information related to the Android device associated with an account, including the
IMEI (International Mobile Station Equipment Identifier), MEID (Mobile Equipment Identifier),
device ID, and/or serial number of the device. ` Each of those identifiers uniquely identifies the
device used; One device may be associated with multiple different Google and Android accounts,
and one Google or Android account may be associated with multiple devices.

xvi. Preserved and Backup Records. The Providers also maintain preserved
copies of the foregoing categories of records with respect to an account, for at least 90 days, upon
receiving a preservation request from the Government pursuant to 18 U.S.C. § 2703(f). The
Providers may also maintain backup copies of the foregoing categories of records pursuant to its
own data retention policy.

D. Services and Records of Dropbox
6. l have learned the following about Dropbox:

a. Dropbox is a file synchronizing and collaboration service that allows users to
store, access, and share files on computers, phones, tablets, and the Dropbox website. Dropbox
creates a folder on the user’s computer, the contents of which are then synchronized to Dropbox’ s
servers and to other computers and devices on which the user has installed Dropbox, keeping the
same files up-to-date on all devices.

b. Users may save and share a variety of file types in Dropbox accounts, including

videos, images, audio files, and text files.

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c. Dropbox users are able to share files by creating “shared folders” within the
user’s Dropbox account. Users can then circulate electronic links to others via the Intemet,
enabling the recipients of those links to access and, in some cases, edit the shared files.

d. Dropbox maintains the following categories of records for its users:

i. Subscrz'ber Inforznation. Dropbox maintains records of subscriber
information for its users, including: (1) names provided by the Dropbox user; (2) email addresses
provided by the Dropbox user; (3) the time and date of account registration; (4) the type of account;
(5) the IP address recorded for the last account access; (6) IP addresses recorded for account logins;

and (7) devices associated with a Dropbox account.

ii. User Acz‘ivz'ty Log. Dropbox maintains logs of actions taken by users within
a Dropbox account without reference to any filenames. This information may include records of
lo gin times and methods used to connect to the account (such as logging into the account through
Dropbox’s website).

iii. File Acz‘z`vz'ty Log. Dropbox maintains file account activity, such as dates
and times when files were deleted or added, or when a shared folder was added to the user’s
account.

iv. Cusz‘ozner Correspondence. Dropbox typically maintains records of any
customer service contacts with or about the user, including any inquiries or complaints concerning

the user’s account.

v. Account Conz‘ent. Dropbox maintains content information for its users,
including audio, video, image, and text files shared and saved through Dropbox.

vi. Preserved and Backup Records. Dropbox maintains preserved copies of the
above-described categories of records with respect to a user account, for at least 90 days, upon

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receiving a preservation request from the Government pursuant to 18 U.S.C. § 2703(f). Dropbox

may also maintain backup copies of the above-described categories of records pursuant to its own

data retention policy.

E. Services and Records of Twitter
7. I have learned the following about Twitter:

a. Twitter offers electronic messaging and online social media services. Twitter
allows its users to create their own profile pages, which can include a short biography, a photo of
themselves, and location information Twitter also permits users to post and read 140-character
messages called “tweets,” and to restrict their “tweets” to individuals whom they approve. In
addition, Twitter’s subscribers can send “direct messages,” or “DMs” to other subscribers, which
are typically only viewable by the sender or recipient of the direct messagel These features are
described in more detail below. A subscriber using Twitter’s services can access his or her account
from any computer connected to the lntemet.

b. Twitter maintains the following records and information with respect to every
subscriber account:

i. Bz'ographz'cal Informatz`on. Twitter allows its users to create personal

profile pages. These pages include a short biography, photographs of the users, and location

information for the user.

ii. Tweets. As discussed above, Twitter’s users can use their accounts to
post “tweets” of 140 characters or fewer. Each tweet includes a timestamp that displays when the
tweet was posted. Twitter"s users can also “favorite,” “retweet,” or reply to tweets of other users.

ln addition, when a tweet includes a username, often preceded by “@,” Twitter designates that

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tweet a “mention” of the identified user. ln the “Connect” tab for each account, Twitter provides
the user with a list of other users who have favorite or retweeted the user’s own tweets, as well as
a list of all tweets that include the user’s username (z'.e. , a list of all mentions and replies for that
username). By enabling the “Tweet With Location” feature, Twitter’s users can also choose to
include location data in their tweets.

iii. Phoz‘ographs/Iznages. Twitter users can also include photographs or
images in their tweets. Each account is provided a user galler‘y, which stores photographs or
images that the user has shared on Twitter’s network, including photographs or images that were
uploaded from another service.

iv. Lz'nk Inforlnatz`on. Twitter’s users can also include links to a website in
their tweets. By using Twitter’s linking service, a longer website'link can be converted into a
shortened'li_nk, which allows it to fit into the 140-character limit. The linking service measures
how many times a link has been clicked. 4

v. Assocz'az‘ed Users. A user can also “follow” other users, which means
that the user subscribes to the other users’ tweets and site updates. Each user profile page includes
a list of the people who are following that user (z`. e., the user"s “followers” list) and a list of people
whom that user follows (z'.e., the user’s “following” list). fwitter’s users can “unfollow” users
whom they previously followed, and they can also adjust the privacy settings for their profile so
that their tweets are visible only to the people whom they approve, rather than to the public (which
is the default setting). A user can also group other users into “lists” that display on the right side
of the user’ s horne page. Twitter also provides users with a list of “Who to Follow,” which includes

recommendations of accounts that the user may find interesting, based on the types of accounts

that the user is already following and who those people follow.

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vi. Dz`rect Messages. A user can also send direct messages, or DMS, to one
of his or her followers These messages are typically visible only to the sender and the recipient,
and both the sender and the recipient have the power to delete the message from the inboxes of

both users.

vii. Sabscrz'ber and Bz`llz'ng Inforrnatz`on. Twitter collects and maintains
(typically unverified) identifying information about each subscriber, including, for example, name,
username, address, telephone number, and alternate email addresses Twitter also maintains
records concerning the date on which the account was created, the lP address of the user at the
time of account creation, the current status of the account (e.g., active or closed), the length of
service, and the types of services utilized by the subscriber. Additionally, for paying subscribers,
Twitter maintains records of the subscriber’s means and source of payment, including any credit

card or bank account number.

viii. Search Inforrnatz`on. Twitter includes a search function that enables its
users to search all public tweets for keywords, usernames, or subj ect, among other things A user

may save up to 25 past searches

ix. Third-parly Inforrnation. Users can connect their accounts to third-
party websites and applications which may grant these websites and applications access to the

users’ public profiles with Twitter.

X. Transacz‘z'anal Information. Twitter also typically retains certain
transactional information about the use of each account on its system. This information can include

records of login (z'. e. , session) times and durations and the methods used to connect to the account

(such as logging into the account through Twitter’s website).

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xi. Cusz‘omer Correspondence. Twitter also typically maintains records of
any customer service contacts with or about the subscriber,y including any inquiries or complaints
concerning the subscriber’s account.

xii. Preserved Records. Twitter also maintains preserved copies of the
foregoing categories of records with respect to an account, for at least 90 days, upon receiving a
preservation request from the Government pursuant to 18 U.S.C. § 2703(1).

F. Services and Record`s of Instagram
8. 1 have learned the following about lnstagram:

a. Instagram operates a free social-networking application and website, accessed
through applications for mobile devices and at lnstagram.com, which is centered around
photo graphy. lnstagram’s users establish accounts and create profiles, which they can use to post
and share photographs and other information from computers and other web-enabled devices, such
as certain cellular phones Instagram’s application for mobile devices also includes a camera
application, which can assist a user in taking pictures and posting the photographs to their

lnstagram account.

b. Instagram asks users to provide basic contact information to Instagram, either
during the registration process or thereafter. This information may include the user’s full name,
contact e-mail addresses, telephone numbers, screen names, websites, and other personal

identifiers.

c. Instagram users can adjust privacy settings for the photographs,
communications and information associated with their accounts By adjusting these privacy

settings, a user can, for example, require authorization before anyone can follow, or have access

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to, photographs posted by the user. 1nstagram accounts also include other account settings that
users can adjust, to control, for example, the types of notifications they receive from 1nstagram.

d.. 1nstagram users may also “follow” other users When a user “follows” another
user, the user automatically receives photographs posted by the “followed” user. Depending on a
user’s privacy settings, a request to “follow” may have to be accepted by the “followed” user,
before the requesting user can view the “followed” user’s photographs

e. 1nstagram users may comment on photographs posted by other users

f. d 1nstagram users have the option to upload photographs with geolocation
information. Those photographs can then be added to a user’s “Photo Map,” allowing users with
access to the photographs to see on a map where the photographs were uploaded to 1nstagram.
Even if the user elects not to add a photograph to a “Photo Map,” the geolocation data is stored
with the Photograph so long as that functionality is enabled.

g. 1nstagram users have access to a “News Feed,” which shows activity among a
user’s network of followed users The News Feed, among other things, displays photographs that
others in the user’s network have liked and comments among individuals in a user’s network.

h. 1nstagram users may share their own photographs via other social networking
services, such as Twitter and Facebook. Users may also share another user’s public photographs
via Twitter.

i. 1nstagram also retains 1P logs for a given user 1D or 113 address These logs may
contain information about the actions taken by the user ID or 113 address on 1nstagram, including

information about the type of action, the date and time of the action, and the user 1D and 1P address

associated with the action.

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j. Social-networking providers like 1nstagram typically retain additional
information about their users’ accounts, such as information about the length of service (including
start date), the types of service utilized, and the means and source of any payments associated with
the service (including any credit card or bank account number). 1n some cases, 1nstagram’s users
may communicate directly with 1nstagram about issues relating to their account, such as technical
problems, billing inquiries, or complaints from other users Social network`rng providers like

1nstagram typically retain records about such communications, including records of contacts

between the user and 1nstagram’s support services, as well as records of any actions taken by l

1nstagram or user as a result of the communications

G. Jurisdiction and Authority to Issue Warrants

9. Pursuant to 18 U.S.C. §§ 2703(a), (b)(l)(A) & (c)(l)(A), the Government may require
a provider of an electronic communications service or a remote computing service, such as the
Providers, to disclose all stored content and all non-content records or other information pertaining
to a subscriber, by obtaining a warrant issued using the procedures described in the Federal Rules
of Criminal Procedure.

10. A search warrant under § 2703 may be issued by “any district court of the United States
(including a magistrate judge of such a court ” that “has jurisdiction over the offense being
investigated.” 18 U.sc. § 2711(3)(A)(i).

11. When the Govemment obtains records under § 2703 pursuant to a search warrant, the

Government is not required to notify the subscriber of the existence of the warrant. 18 U.S.C.'

§ 2703 (a), (b)(l)(A), (c)(2) & (3). Additionally, the Government may obtain an order precluding

the Providers from notifying the subscriber(s) or any other person of the warrant, for such period

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as the Court deems appropriate, where there is reason to believe that such notification will seriously
jeopardize an investigation 18 U.S.C. § 2705(b).

II.Factual Background
12. 0n May 31, 2017, the Honorable Katharine A. Parker, United States Magistrate Judge,

issued an arrest warrant based on a sealed Complaint (the “Complaint” or “Compl.”) that charged
Ali Kourani with eight counts: (1) providing material support to an FTO, z'.e., Hizballah, in
violation of Title 18, United States Code, Section 2339B; (2) conspiracy to provide material
support and resources to an FTO, i.e., Hizballah, in violation of Title 18, United States Code,
Section 233 913 ; (3) receiving military-type training from an FTO, i.e., Hizballah, in violation of
Title 18, United States Code, Section 23391); (4) conspiracy to receive military-type training from
an FTO, z`.e., Hizballah, in violation of Title 18, United States Code, Sections 371 and 23391);
(5) conspiracy to possess, carry, and use'firearms and destructive devices during and in relation to
crimes of violence, in violation of Title 18, United States Code, Section 924(0); (6) making and
receiving a contribution of funds, goods, and services to and f`rom a specially designated terrorist,
z`.e., Hizballah, in violation of Title 50, United States Code, Section 1705 , (7) conspiracy to make
and receive a contribution of funds, goods, and services to and from a specially designated terrorist,
z`.e., Hizballah, in violation of Title 50, United States Code, Section 1705; and (8) naturalization
fraud to facilitate an act of international terrorism, in violation of Title 18, United States Code,
Section 1425. The Complaint, which was filed on May 31, 2017 and docketed 17 Mag. 4151, is
attached hereto as Exhibit A and incorporated by reference
13. As alleged in the Complaint: l
a. Kourani was a member of the lslamic Jihad Organization (“IJO”), which is a

highly compartmentalized component of Hizballah (an FTG) thatis responsible for the planning,

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preparation, and execution of intelligence, counterintelligence, and terrorist activities outside of
Lebanon. (See Compl. 1111 16, 17, 19). Beginning in approximately 2000, Kourani obtained
training from Hizballah and the 110 in tradecraft, weapons, and military tactics Kourani later
identified himself to the FBI as an 110 “sleeper” operative working undercover in the United
States. (See z'd. 1111 16, 19, 25). Principally responsible for conducting 110 intelligence-gathering
and surveillance activities, Kourani received taskings in Lebanon and executed his missions
covertly. (See z'd. 11 16, 26). F or example, Kourani gathered intelligence and conducted
surveillance of U.S. military and intelligence outposts in New York City, as well as airports in
New York City and elsewhere, in support of anticipated 110 terrorist attacks (See z'd.).

b. Kourani used email accounts, at least one social media account, and electronic
storage media to engage in activities on behalf of, and provide support to, Hizballah and the 110.
(See, e.g., Compl. 1111 22(a), 22(e), 26(e)).

c. Kourani searched for, and viewed, Hizballah- and 110-related propaganda on
the 1nte1net, including videos that could be stored and shared using email accounts and social
media accounts (See Compl. 1111 21(a)-(b), 21(d)-(h)).

d. Certain Google searches performed by Kourani, which were obtained
previously pursuant to a search Warrant relating to one of Kourani’s email accounts that is not
t among the Subject Accounts, serve as evidence of Kourani’s participation in the crimes charged
in the Complaint. (See, e.g., Compl. 11 27). F or example, Kourani searched for the address of a
U.S. government facility that he later admitted to surveilling on behalf of the 110. (See z'd. 1111 26(a),
27(0)-

14. Kourani was arrested in the Bronx on the morning of 1une 1, 2017. A Samsung
smartphone capable of accessing the 1nternet was seized incident to his arrest.

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15. Following Kourani’s arrest, Kourani’s apartment was searched by the FBI pursuant to
a search warrant issued on May 31, 2017 by 1udge Parker. The search revealed, among other
things, two laptop computers that Kourani appears to have used.

16. 0n 1une 2, 2017, in the presence of defense counsel, Kourani consented to searches of
the Subject Accounts. The consent form signed by Kourani and his attorney is attached hereto as
Exhibit B. Before signing the consent form, and in the presence of counsel, Kourani reviewed a
list of the Subj ect Accounts, and confirmed that he had, at some time between 2000 and the present,
utilized the Subject Accounts. By signing the consent form, Kourani also affirmed: (i) “1 have a
right to access or use these . . . accounts and all information found in them”; (ii) “1 understand that
any contraband or evidence on these . . . accounts may be used against me in a court of law”; and
(iii) “1 relinquish any constitutional right to privacy in these . . . accounts and any information
stored on them.”

17. Based on my training and experience, notwithstanding Kourani’s voluntary consent to
searches of the Subj ect Accounts, the Providers will not provide the contents of the Subj ect
Accounts to the Government or the FBI in the absence of a Court order such as a search warrant.

III.Evidence, Fruits and Instrumentalities Relating to the Subject Offenses

18. Based upon the foregoing and the allegations in the Complaint attached as Exhibit A,
1 respectfully submit there is probable cause to believe that information stored on the Providers’
servers, as more fully described in Section 11 of Attachment A to the proposed warrants, associated
with the Subj ect Accounts will contain evidence, fruits, and instrumentalities of the Subj ect

Offenses.2 For example, the Subject Accounts likely contain information relating to Kourani’s

 

2 The Government is not relying on Kourani’s consent to search the Subject Accounts as a basis
for establishing probable cause to support the issuance of the warrant.

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physical location at times relevant to the Subject'Offenses, such as 1P address information,
photographs and communications which corroborates for example, his travel to Lebanon for
meetings with Hizballah and 110 personnel. The Subj ect Accounts that are email accounts with
usernames relating to business ventures associated with Kourani, such as
jacobfashion@hotmail.com, holy.smoke.shop.franklin@gmail.com, and
wmc.sportswear@gmail.com, are likely to contain information relating to financial transactions
that will provide information relating to bank accounts and other means of effecting funds transfers
used by Kourani, which may in turn lead to evidence relating to the Subj ect 0ffenses. The Subj ect
Accounts that are email accounts maintained by Google may contain additional information
relating to Google searches conducted by Kourani relating to the Subj ect 0ffenses.
19. Accordingly, 1 respectfully submit that there is probable cause to believe that, within
the Subj ect Accounts, there are:
» communications relating to the Subject 0ffenses, including communications relating
to the provision of support to Hizballah, the receipt of military-type training from
Hizballah, taskings on behalf of Hizballah, surveillance conducted for Hizballah, the
use and acquisition of weapons and the making of false statements to the `U.S.
government;
» evidence of the identity(ies) of the user(s) of the Subj ect Accounts;
» evidence of the identities and locations of co-conspirators in the Subject 0ffenses,
including photographs of and communications with such individuals
» evidence of participation in the Subj ect 0ffenses by the user(s) of the Subj ect Accounts
and others including records relating to travel and financial transactions in furtherance
of the Subject 0ffenses;

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¢ evidence related to banks and other financial institutions at which the user(s) of the
Subject Accounts conduct business including, potentially, transactions in furtherance
of the Subject 0ffenses;

¢ evidence of other online accounts the user(s) of the Subject Accounts including
potentially for operational activity or otherwise in furtherance of the Subj ect 0ffenses;
and

0 passwords or other information needed to access user’s computer or other online
accounts

IV.Review of the Information Obtained Pursuant to the Warrants

20. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not
required for service of a search warrant issued under § 2703, or for the collection or production of
responsive records Accordingly, the warrants requested herein will be transmitted to the
Providers which shall ‘be directed to producea digital copy of any responsive records to law
enforcement personnel within 30 days from the date of service. Law enforcement personnel
(including, in addition to law enforcement officers and agents and depending on the nature of the
ESI and the status of the investigation and related proceedings attorneys for the government,
attorney support staff, agency personnel assisting the government in this investigation, and outside
technical experts under government control) will retain the records and review them for evidence,
fruits and instrumentalities of the Subj ect 0ffenses as specified in Section 111 of Attachment A to
the proposed warrants a copy of which shall not be transmitted to the Providers

21. 1n conducting this review, law enforcement personnel may use various methods to
locate evidence, fruits and instrumentalities of the Subj ect 0ffenses including but not limited to
undertaking a cursory inspection of all emails within the Subject Accounts. This method is

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analogous to cursorin inspecting all the files in a file cabinet in an office to determine which paper
evidence is subject to seizure. Although law enforcement personnel may use other methods as
well, particularly including keyword searches 1 know that keyword searches and similar methods
are typically inadequate to detect all information subject to seizure. As an initial matter, keyword
searches work only for text data, yet many types of files commonly associated with emails
including attachments such as scanned documents pictures and videos do not store data as
searchable text. Moreover, even as to text data, keyword searches cannot be relied upon to capture
all relevant communications in an account, as it is impossible to know in advance all of the unique
words or phrases that investigative subjects will use in their communications and consequently
there are often many communications in an account that are relevant to an investigation but that
do not contain any keywords that an agent is likely to search for.

V.Request for Sealing

22. The scope of this ongoing criminal investigation is not publicly known As a result,
premature public disclosure of this affidavit or the requested warrant could alert potential criminal
targets that they are under investigation, causing them to destroy evidence, flee from prosecution,
or otherwise seriously jeopardize the investigation 1n particular, given that targets of the
investigation are known to use computers and electronic communications in furtherance of their
activity, the targets could easily delete, encrypt, or otherwise conceal such digital evidence from
law enforcement were they to learn of the Government’s investigation

23. Accordingly, 1 respectfully request that this affidavit and all papers submitted herewith
be maintained under seal until the Court orders otherwise, except that the Government be permitted
without further order of this Court to provide copies of the warrant and affidavit as need be to

personnel assisting it in the investigation and prosecution of this matter, and to disclose those

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materials as necessary to comply with discovery and disclosure obligations in any prosecutions
related to this matter.

VI.Conclusion

24. Based on the foregoing, 1 respectfully request that the Court issue the warrant sought
herein pursuant to the applicable provisions of the Stored Communications Act, 18 U.S.C.
§ 2703(b)(1)(A) (for contents) and § 2703(0)(1)(A) (for records and other information), and the

relevant provisions of Federal Rule of Criminal Procedure 41.

07 ;f:

Speci-al/r`igent 1 oseph T. Costello, FBI

Sworn to before me this
6th day of JUn}e, 12017

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EXH|B|T A

 

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dana 2 11-1~j MAG §§ §§

EMIL J. BOVE III / AMANDA L. HOULE
Assistant United States Attorneys

BefOre: HONORABLE KATHARINE H. PARKER
United States Magistrate Judge
Southern District of New York

__________________ X
UNITED STATES OF AMERICA : SEALED COMPLAINT
- v. ~ Violations of
: 18 U.S.C. §§ 2339B,
ALI KOURANI, : 2339D, 924(0), l425(a);
a/k/a “Ali Mohamad Kourani,” : 50 U.S.C. § l705(a)
a/k/a “Jacob Lewis,¥ :
a/k/a “Daniel,” ' : COUNTIES OF OFFENSE:
NEW YORK, BRONX
Defendant. 1
__________________ X
STATE OF NEW YORK )
' ) ss

COUNTY OF NEW YORK )

JOSEPH T. COSTELLO, being duly sworn, deposes and says that
he is a Special Agent at the Federal Bureau of Investigation

(“FBI”), and charges as follows:

COUNT ONE

(Provision of Material Support to Hizballah,
a Designated Foreign Terrorist Organization)

l. From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, and in an offense begun and committed
outside of the jurisdiction of any particular State or district of
the United States, ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a
“Jacob Lewis,” a/k/a “Daniel,” the defendant, who is expected to
be first arrested in the Southern District of New York, knowingly
did provide and attempt to provide, and aided and abetted the
provision of, “material support or resources,” as that term is
defined in Title 18, United States Code, Section 2339A(b), to a
foreign terrorist organization, to wit, Hizballah, which has been
designated. by‘ the Secretary' of State as a foreign. terrorist

 

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organization since 1997, pursuant to Section 219 of the Immigration
and Nationality Act (“IN ”), and is currently designated as such
as of the date of the filing of this Complaint, including, among
other things, personnel, knowing that Hizballah was a designated
foreign terrorist organization (as defined in Title 18, United
States Code, Section 2339B(g)(6)), that Hizballah engages and has
engaged in terrorist activity (as defined in section 212(a)(3)(B)
of the INA), and that Hizballah engages and. has engaged in
terrorism (as defined in section l40(d)(2) of the Foreign Relations
Authorization Act, Fiscal Years 1988 and 1989).

(Title 18, United States Code, Sections 2339B(a)(1), (d)tl)(A),
(d)(l)(C)/ (d)(l)(D), (d)(l)(E), (d)(l)(F),~(d)(Z)/
3238, and 2.)
COUNT TWO

'(Conspiracy`to Provide Material Support to Hizballah,
a Designated Foreign Terrorist Organization)

2. From at least in or about 2002, up to and including in
cr about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, ALI KOURANI, a/k/a “Ali Mohamad Kourani,”
a/k/a “Jacob Lewis,” a/k/a “Daniel,” the defendant, who is expected
to be first arrested in the Southern District of New York, and
others known and unknown, knowingly did combine, conspire,
confederate and agree together and with each other to provide
“material support or resources,” as that term is defined in Title`
18, United States Code, Section 2339A(b), to a foreign terrorist
organization, to wit, Hizballah, which has been designated by the
Secretary of State as a foreign terrorist organization since 1997,
pursuant to Section 219 of the INA, and is currently designated as
such as of the date of the filing of this Complaint.

3. It was a part and an object of the conspiracy that ALI
KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a
“Daniel,” the defendant, and others known and unknown, would and
did agree to provide Hizballah with material support and resources,
including' personnel, knowing that Hizballah was a designated
foreign terrorist organization (as defined in Title 18, United
States Code, Section 2339B(g)(6)), that Hizballah engages and has
engaged in terrorist activity (as defined in section 212(a)(3)(B)
of the INA), and that Hizballah engages and has 1engaged in
terrorisnr(as defined.in section 140(d)(2) of the Foreign Relations
Authorization Act, Fiscal Years 1988 and 1989), in violation of
Title 18, United States Code, Section 2339B.

 

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4. In_ furtherance of the conspiracy' and to effect the
illegal object thereof, ALI KOURANI, a/k/a “Ali Mohamad Kourani,”
a/k/a “Jacob Lewis,” a/k/a “Daniel,” the defendant, and others
known and unknown, committed the overt acts set forth below, among

others:

a. From at least in or about 2009, up to and including
`in or about September 2015, KOURANI conducted surveillance of U.S.
military and intelligence outposts in New York City, as well as
airports in New York City and another country, in support`of
anticipated terrorist attacks by Hizballah’s Islamic Jihad

Organization.

b. In or about July 2011, KOURANI attended a military
training camp in the vicinity of Birkat Jabrur, Lebanon, which was
operated by Hizballah’s Islamic Jihad Organization, where KOURANI
was provided with military-tactics and weapons training.

(Title 18, United States Code, Sections 2339B(a)(l), (d)(l)(Ai,
(d)(l)(C), (d)(l)(D), (d)(l)(E), (d)(l)(F), (d)(Z)/ and 3233.)

COUNT THREE

(Receipt of Military~type Training from Hizballah,
a Designated_Foreign Terrorist Organization)

5. In or about 2011, in Lebanon and elsewhere, and in an
offense begun and committed outside of the jurisdiction of any
particular State or district of the United States, ALI KOURANI,
a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,”
the defendant, who is expected.to be first arrested in the Southern
t District of New York, knowingly received military~type training

from and on behalf of Hizballah, which has been designated by'the
Secretary of State as a foreign terrorist organization since 1997,
pursuant to Section 219 of the INA, and is currently designated as
Such as of the date of the filing of this Complaint, knowing that
Hizballalr was a designated. foreign 'terrorist organization (as
defined in Title 18, United States Code, Section 2339D(c)(4)),
that Hizballah engages and has engaged in terrorist activity (as
defined in section 212 of the INA), and that Hizballah engages and
has engaged in terrorism (as defined in section 140(d)(2) of the
Foreign Relations Authorization Act, Fiscal Years 1988 and 1989),
to wit, KOURANI received. training' in. the use .of weapons and
military tactics from other members of Hizballah.

(Title 18, United States Code, Sections 2339D(a), (b)(l),
(b)(3), (b)(4), (b)(§), (b)(€), 3238, and 2.)

 

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CO`\'J`NT FOUR

4(Conspiracy to Receive Military~type Training from Hizballah,
a Designated Foreign Terrorist Organization)

6. In or about 2011, in Lebanon and elsewhere, and in an
offense begun and committed outside of the jurisdiction of any
particular State or district of the United States, ALI KOURANI,
a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,”
the defendant, who is expected.to be first arrested in the Southern
District of New York, and others known and unknown, knowingly did
combine, conspire, confederate and agree together and with each
other to receive military-type training from and on behalf of
Hizballah, which has been designated by the Secretary of State as
a foreign terrorist organization since 1997, pursuant to Section
219 of the INA, and is currently designated as such as of the date
of the filing of this Complaint.

7. It was a part and an object of the conspiracy that ALI.
KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a
“Daniel,” the defendant, and others known and unknown, would and
did receive.military-type training from and on behalf of Hizballah,
knowing that Hizballah was a designated foreign terrorist
organization (as defined in Title 18, United States Code, Section
2339D(c)(4)), that Hizballah engages and has engaged in terrorist
activity (as defined in section 212 of the INA), and that Hizballah
engages and. has engaged tin terrorism. (as defined. in section
l40(d)(2) of the Fcreign Relations Authorization.Act, Fiscal Years
1988 and 1989), in violation of Title 18, United States Code,

Section 2339D.

8. In. furtherance of the conspiracy' and. to effect the
illegal object thereof, ALI KOURANI, a/k/a “Ali Mohamad Kourani,”
a/k/a “Jacob Lewis,” a/k/a “Daniel,” the defendant, and others

known and unknown, committed the overt acts set forth in paragraph
4, supra, which are fully incorporated by reference herein, among

others.

(Title 18, United States Code, Sections 371, 2339D(a), (b)(l),
(b)(3), (b)(4)1 (b)(5), (b)(€), and 3238.)

 

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COUNT FIVE

(Conspiracy to Possess, Carry, and Use Machine Guns and
Destructive Devices During and in Relation to Crimes of
‘ Violence)

9. From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, and ill an offense begun and committed
outside of the jurisdiction of any particular State or district of
the United States, ALI KOURANIj, a/k/a “Ali Mohamad Kourani,” a/k/a
“Jacob Lewis,” a/k/a “Daniel, the defendant, who is expected to
be first arrested in the Southern District of New York, and others
known and unknown, knowingly did combine, conspire, confederate,
and agree together and with each other to violate Title 18, United

States Code, Section 924(0).

10. It was a part and an object of the conspiracy that ALI
KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a
“Daniel, ” the defendant, and others known and unknown, during and
in relation tx) a crime of violence for which KOURANI may be
prosecuted in a court of the United States, namely, the offenses
charged in Counts One, Two, Three, and Four of this Complaint,,
would and did use and carry machine guns and destructive devices,
to wit, firearms that were capable of automatically firing more
than one shot without manual reloading, including an AK~47 assault
rifle, an MP5 submachine gun, and a Russian PKS machine gun, and
destructive devicesL including rocket-propelled grenade launchers
(“RPGs”), and, in furtherance of such crime of violence, possess
machine guns and destructive devices, in violation of Title 18,
United States Code, Sections and 924(c)(1)(A1 and

924(c)(l)(B)(ii).
(Title 18, United States Code, Sections 924(01 and 3238.)

COUNT SIX

(Making or Receiving a Contribution of Funds, Goods, and
Services to and from Hizballah, in Violation of the
International Emergency Economic Powers Act)

ll. From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
lebanon, and elsewhere, and in an offense begun and committed
outside of the jurisdiction of any particular State or district of
the United States, ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a
“Jacob Lewis,” a/k/a “Daniel,” the defendant, a United States

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personq who is expected 133 be first arrested ill the Southern
District of New York, willfully attempted to and did make and
receive a contribution of funds, goods, and services to and for
the benefit of, as well as from, Hizballah, a specially designated
.terrorist, in that KOURANI attempted to and did. provide to

Hizballah personnel and services.

(Title 50, United States Code, Section 1705(a); Title 18, United
States Code, Sections 3238 and 2; and Title 3l, Code of Federal
Regulations, Sections 595.204, 595;205, and 595.311.)

COUNT SEVEN

(Conspiracy to Make or Receive a Contribution of Funds, Goodsr
and Services to and from Hizballah, in Violation of the
International Emergency Economic Powers Act)

12. From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, and in an offense begun and committed
outside of the jurisdiction of any particular State or district of
the United States, ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a
“Jacdb Lewis,” a/k/a “Daniel,” the defendant, a Umited States
person, who :M; expected to lxa first arrested ill the Southern
District of New York, knowingly and willfully, along with others
known and unknown, did combine, conspire, confederate, and agree
together and with each other to make and receive a contribution of
funds, goods, and services to and for the benefit of, as well as
from, Hizballah, a specially designated terrorist, by agreeing
with others to provide to Hizballah personnel and services, and to

receive funds from Hizballah.

(Title 50, United States Code, Section l705(a); Title 18, United
States Code, Section 3238; and Title 3l, Code of Federal
Regulations, Sections 595.204, 595.205, and 595.311.)

COUNT EIGHT

(Unlawful Procurement of Citizenship or Naturalization to
Facilitate an Act of International Terrorism)

131 In or about 2009, ALI KOURANI, a/k/a “Ali Mohamad
Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,” the defendant, in
the Southern District of New York and elsewhere, knowingly procured
and attempted to procure, contrary to law, the naturalization of
any person to facilitate an act of international terrorism as
defined in Title 18, United States Code, Section 2331, to wit,

 

 

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KOURANI submitted a naturalization’ application for himself
containing false statements relating to, among other things, his
membership in and provision of material support and resources to

Hizballah.

(Titie 18, United states code, sections 1425(a>, 3291, and 2.)"

The bases for my knowledge and the foregoing charges, are, in
part, as follows:

14. I have been a Special Agent at the FBI since
approximately 2014. Prior to joining the FBI, I served as a
Special ~Agent with the U.S. Department of State, Diplomatic
Security Service, for approximately five years, For the last
approximately two years, I have been assigned to the FBI's New
York Joint Terrorism Task Force (“JTTF”). The focus of my
counterterrorisnl and counterintelligence efforts has been
investigating and disrupting terrorist activities by Hizballah
and, in particular, Hizballah' s Islamic Jihad Organization

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15. I have learned the facts contained in this Complaint
from, among other sources, my personal participation in this and
related investigations, my discussions with other law enforcement
personnel, searches in which I have participated, surveillance in
which I have participated, and my review of documents and other
materials. Because this Complaint is being submitted for the
limited purpose of establishing probable cause, it does not include
every fact that I have learned during the course of this
investigation. Further, any statements related herein are

described in substance and in part only.

INTRODUCTION

16. The FBI's investigation revealed that ALI KOURANI, a/k/a
“Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,” the
defendant, was a member of the IJO, which is a highly
compartmentalized component of Hizballah responsible for the
planning, preparation, and execution of intelligence,
counterintelligence, and terrorist activities outside of Lebanon.
Beginning in approximately 2000, KOURANI obtained training from
Hizballah and the IJO in tradecraft, weapons, and.military tactics.
KOURANI later identified himself to the FBI as an IJO “sleeper”
operative working undercover in the United States Principally
responsible for conducting IJO intelligence~ gathering and
surveillance activities, KOURANI received taskings in Lebanon and
executed his missions covertly. For example, KOURANI gathered

 

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intelligence and conducted surveillance of U. S. military and
intelligence outposts in New York City, as well as airports in New
York City and elsewhere, in support of anticipated IJO terrorist

attacks.

HIZBALLAH, AL MANAR, AND THE ISLAM:C JIHAD ORGANIZATION

l7. Based on.my training and experience, my participation in
this and related investigations, and my review of publicly
available documents, reports, and other materials, I understand

the following, in substance and in part:

a. Hizballah is a Lebanon~based Shia Islamic
organization with political, social, and terrorist components.
Hizballah was founded in the early.l980s with support from Iran
after the 1982 Israeli invasion. of Lebanon, and its mission
includes establishing a fundamentalist islamic state in Lebanon.
In. 1997, the U.S. Department of State designated. Hizballah; a
Foreign Terrorist Organization, pursuant to Section 219 of the
INA, and it remains so designated today. In 2001, pursuant to
Executive Order 13, 224, the U. S Department of the Treasury
designated Hizballah a Specially Designated Global Terrorist
entity. In 2010, State Department officials described Hizballah
_as the most technically capable terrorist group in the world, and

a continued security threat to the United States.

b. Al Manar is a media organization controlled by the
Iran~funded Hizballah terrorist network. Al Manar employs
Hizballah. personnel, supports fundraising' and recruitment for
Hizballah, and at least one Al Manar employee engaged in
operational surveillance activities on behalf of Hizballah under
cover of employment by Al Manar In 2006, pursuant to Executive
Order 13, 224, the U. S. Department of the Treasury designated Al
Manar a Specially Designated Global Terrorist entity.

c. The IJO, which. is also known as the External
Security' Organization. and. “910, is a component of Hizballah
responsible for the planning and coordination of intelligence,
counterintelligence, and terrorist activities on behalf of
Hizballah. outside of Lebanon. IJO operatives are typically
assigned a Lebanon- -based “handler,” sometimes referred to as a
mentor, responsible for providing taskings, debriefing operatives,
and arranging training. IJO often conducts targeted operations in
stages, sending waves of one or more operatives with separate
taskings such as surveillance, obtaining and storing necessary
components and equipment, and attack execution.

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d. Since Hizballah's formation, the organization has
been responsible for numerous terrorist attacks that have killed
hundreds, including the 1983 bombing of the United States Marine
barracks in Lebanon, which killed 241 Marines; the 1983 bombing of
the United States Embassy in Beirut, which killed 24 people; the
1985 hijacking of TWA Flight 847, which killed one U.S. citizen;
the 1992 bombing of the Israeli Embassy in Argentina, which killed
29 people; and the 1994 bombing of a Jewish cultural center in
Buenos Aires, which killed 95 people.

e. In. July and. August 2006, Hizballah. and Israel
engaged in armed conflict (the “2006 Lebanon War”), resulting in
numerous casualties, after an incident on or about July 12, 2006
when Hizballah attacked Israeli Defense Force (“IDF”) personnel.
A ceasefire brokered by the United Nations went into effect on

August 14, 2006,

f. In January 2012, Hussein Atris, an IJO operative
with dual Lebanese-Swedish citizenship, was detained in Thailand
as he tried. to 'board. a flight at a Bangkok; airport. Atris

subsequently led law enforcement personnel to a commercial
building near Bangkok that housed a cache of nearly 10,000 pounds
of urea-based fertilizer and 10 gallons of ammonium nitrate, which
are chemicals that.I know, based on my training and experience,
can be used to construct explosives. The ammonium nitrate was
stored in First Aid ice packs manufactured by aGuangzhou, China~

based company (“Guangzhou Company-l”).

g. In July 2012, Mouhamad Hassan Mouhamad El Husseini,
an IJO operative with dual Lebanese- French citizenship, detonated
explosives on a bus transporting Israeli tourists in the vicinity
of an airport in Burgas, Bulgaria. Six people were killed and 32
others were injured. Law enforcement authorities recovered three
fraudulent, purportedly U}S.~based, driver's licenses during the
investigation, subsequently linked the attack to the IJO, and
determined that ammonium nitrate was an active ingredient in the

explosives.

h. Also in July 2012, Hossam Taleb Yaacoub, an IJO
operative with dual Lebanese~ Swedish citizenship, was arrested
after conducting surveillance of Israeli tourists in the vicinity
of an airport in Larnaca, Cyprus. Law enforcement authorities
seized from Yaacoub a notebook containing coded entries relating
to, among other things, Israeli tour busses. In Nmrch 2013,
Yaacoub was convicted of crimes in Cyprus relating to these
activities on behalf of the IJO.

 

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i. In. May 2015, Hussein Bassam Abdallah, an IJO
operative with dual Lebanese~Canadian citizenship, was arrested in
Cyprus after Cypriot authorities seized from an apartment rented
by Abdallah approximately 8.2 tons of ammonium nitrate, at least
some of which was stored in First Aid ice packs manufactured by
Guangzhou Company-l, the manufacturer of the First Aid ice packs
seized in Thailand in January 2012, §ee paragraph 17(f), supra,
Abdallah possessed a copy of a fraudulent passport at the time of
his arrest, and he was subsequently convicted of crimes in Cyprus
relating to these activities on behalf of the IJO.

THE DEFENDANT

18. Based on my review of documents and information
maintained by federal and state authorities in the United States,
I am aware of the following:

a. ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a
“Jacob Lewis,” a/k/a “Daniel,” the defendant, was born in the
vicinity of Bint Jbeil, Lebanon in 1984.

b. In 2003, KOURANI lawfully entered the United States
using a Lebanese passport. In the United States, KOURANI obtained
a Bachelor of Science in biomedical engineering in 2009, and a
Masters of Business Administration in 2013,

c. In April 2009, KOURANI became a naturalized citizen
of the United States, see paragraph 20(c), infra.

d. KOURANI's U.S. and Lebanese passports reflect,
among other things, travel to Lebanon at least approximately once
annually between 2005 and 2015, and to Guangzhou, China in May

2009.

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'I_‘HE DEFEN'DANT’ S RECRUITMENT AN'D TRAINING B'Y
HIZBALLAH AND THE IJO

19. Based on my participation in interviews of ALI KOURANI,
a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,
the defendant, as well as my review of reports relating to
interviews of KOURANI, 1 I know that KOURANI provided the following
information to law enforcement, in substance and in part:

a. KOURANI considers his family name to be akin to the
“Bin Ladens of Lebanon,” and one of his brothers is the “face of

Hizballah” in Yatar, Lebanon.

b. In approximately 2000, three years before entering
the United States, see paragraph 18(b), supra, KOURANI attended a
45- -day Hizballah “boot camp” in Lebanond KOURANI was approximately
16 years old at the time, and he was permitted to attend because
of his family’ s connections to a high-ranking Hizballah official
named Haider Kourani. During the training, KOURANI was taught to
fire AK-47 assault rifles and rocket launchers, as well as basic
military tactics, by Hizballah personnel wearing uniforms.

c. KOURANI was in Southern Lebanon during the 2006
Lebanon War, see paragraph 17(e), supra, and his family’s home was
destroyed.by an _Israeli bombing during the conflict. KOURANI fled
the area with relatives, and he returned to the United States via

Syria.

d. In. approximately‘ 2008, KOURANI was recruited_ by
Sheikh Hussein Kourani yin Lebanon to join the IJO. KOURANI
considered the IJO to be responsible for “black ops” on behalf of
Hizballah and “the Iranians.” By the time KOURANI joined the IJO,
he understood. that Hassan.§Nasrallahq the Secretary~General of

 

1 ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,”

a/k/a “Daniel,” the defendant, made statements to the FBI during.

multiple voluntary interviews in 2016 and 2017. The interviews in
2016 were conducted in a non~Custodial setting. Five interviews
were conducted in 2017 after an attorney representing KOURANI
contacted the FBI and explained, in substance and in part, that
KOURANI wished to provide information to the FBI in the hope of
obtaining financial support and immigration benefits for certain
of his relatives. No promises were made to KOURANI regarding such
benefits, and the five interviews in 2017 were conducted in the
attorney's presence, at the attorney's office, in a non~custodial

setting.

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Hizballah, operated the IJO and reported directly to Ali Khamenei,
the Supreme Leader of Iran.

e. KOURANI believes that he was recruited to join the
IJO in light of his education and residence in the United States,
and in connection with efforts by the IJO to develop “sleepers”
who maintained ostensibly normal lives but could be activated and
tasked with conducting IJO operations.

f. Following KOURANI’s initial recruitment by the IJO,
KOURANI participated in a series of interviews in Lebanon with IJO
personnel during which.he was asked about his background, religious
practices, and travel history, as well as provided with training
on topics such as conducting interrogations, resisting
interrogations, and surveillance techniques.

`g. KOURANI was subsequently driven, while wearing a
blacked-out motorcycle helmet, to a meeting with the man who acted
as his IJO handler, whom KOURANI knew as “Fadi” and “Hajj”
(“Fadi”). Fadi typically wore a mask during their meetings, and
explained to KOURANI early in their relationship that the “golden
rule” of the IJO was that “the less you know the better it is.”
Fadi acted as KOURANI's IJO handler until approximately September
2015, when KOURANI claims that he (KOURANI) was deactivated by the

IJO.

h. One of Fadi’s first instructions to KOURANI, who
was a lawful permanent resident at the time, was to obtain United
States citizenship and a U.S. passport as soon as possible.

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i. Fadi later instructed KOURANI to obtahi a U.S.
passport card that could be used to re-enter the United States if
his U.S. passport was seized outside the United States.
Specifically, Fadi told KOURANI that he could use his Lebanese
passport to fly to Mexico or Canada, and then enter the United

States at a land border using the U.S. passport card.

j. KOURANI used at least two email addresses (“Kourani
Email~l” and “Kourani Email~2”) to communicate with IJO personnel

abroad regarding his status and activities.

20. Based on my review of documents and information
maintained by federal and state authorities in the United States,
I am aware of the following:

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a. ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a
“Jacob Lewis,” a/k/a “Daniel,” the defendant, departed Lebanon,
via Beirut~Rafic Hariri International Airport,-in approximately

late~January 2008.

b. In approximately August 2008, KOURANI submitted an
application for naturalization in the United States (the

“Naturalization Application”). KOURANI 'certified on the_

Naturalization Application, under penalty of perjury, that the
information provided was true and correct. In the Naturalization
Application, KOURANI made the following declarations, among

others:

i. He had never “been a member of or in any way
associated (either directly or indirectly) with .. . [a] terrorist
organization.”

ii. He had never “given false or misleading '

information to any U.S. government official while applying for any
immigration benefit .”

iii. He had_ never “lied. to any‘ U.S. government
official to gain entry or admission into the United States.¢

c. On. or about April 15, 2009, the jNaturalization
Application was approved, and KOURANI became a naturalized citizen
of the United States.2

‘d. ' On or about April 15, 2009, KOURANI submitted an
application. for ea UIS. passport, attaching' the :naturalization
certificate that he was issued on the same day. In the passport
application, KOURANI claimed, under penalty of perjury, that he
had “no plans yet” with respect to foreign travel.

e. On or about April 22, 2009, KOURANI was issued a
U.S. passport.

f. On April 30, 2009, KOURANI was issued a visa to
enter China that was valid until October 30, 2009,

 

2 The JHaturalization. Application. was jprocessed¢ in. part, at a
Manhattan office of the U.S. Citizenship and Immigration Services.
ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,”
a/k/a “Daniel,” the defendant, admitted to the FBI in 2017 that he
understood that the Naturalization Application would be processed,
at least in part, in the Southern District of New York.

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g. On or about May 3, 2009, KOURANI entered China at
an airport in Guangzhou, the location.of Guangzhou Company~l, i.e.,
the manufacturer of the ammonium nitrate-based First Aid ice packs
seized in connection with thwarted IJO attacks in Thailand and

Cyprus, see paragraphs 17(f) and 17(i), supra.

h. In approximately April 2013, KOURANI obtained a
U.S. passport card by relying on his naturalization certificate as
an identification document.

21. Based on my review of documents and information relating
to Kourani Email~l, which were produced by an Internet services
provider, I am aware of the following:

a. In approximately late§January 2008, just days after
ALI KOURANI, a/k/a “Ali Mbhamad Kourani,” a/k/a “Jacob Lewis,”
a/k/a “Daniel,” the defendant, left .Lebanon following his

recruitment by the IJO, see paragraphs 19(d) and 20(a) supra,
KOURANI conducted a series of Internet searches relating to the
2006 Lebanon War, including the terms “vinograd report” and
“lebanon second war.” Based on publicly available reporting, I
know that Judge Eliyahu Winograd led the Commission to Investigate
the Lebanon.Campaign in 2006, i.e., the 2006 Lebanon War, which
issued interim and final reports relating to the conflict.

b. Beginning in approximately May 2008, KOURANI
conducted Internet searches and visited websites relating to Al
Manar, the Specially Designated Global Terrorist entity that acts
as a propaganda ann of Hizballah, see paragraph 17(b), supra.
KOURANI conducted similar searches relating to Al Manar in
approximately October 2012 and approximately March 2015.

C. Beginning on or about April 29, 2009, just one day
before KOURANI obtained a visa to enter China, see paragraph 20(f),
supra, he conducted Internet searches relating to the city of

Guangzhou, China.

d. In approximately January 2013, KOURANI conducted an
Internet search, in Arabic, and visited a website relating to Rabee
Fares. The website KDURANI visited contains multiple images of

Fares posing with weapons and military gear, and indicates that
Fares was a member of Hizballah who was killed while fighting in

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Syria approximately two days before KOURANI’s Internet search.3

e. In approximately January 2013, KOURANI conducted an
Internet search, ill Arabic, for dme phrase “if Hizballah vms
defeated,” and visited a website with a Hizballah propaganda video
produced by Al Manar featuring, among other things, a statement
from Hizballah Secretary-General Nasrallah. 3

f. In approximately March 2013, KOURANI conducted an
Internet search, in Arabic, relating to IJO operative Hossam Taleb
Yaacoub, who was arrested in Cyprus in July 2012 based on his
surveillance of Israeli targets in Cyprus, see paragraph l7(h),

supra.

g. In approximately January 2014, KOURANI conducted an
'Internet search, in Arabic, and a visited website relating to
prayers for victory over “the enemy.”

_ h. In approximately March 2015, KOURANI conducted an
Internet search, in Arabic, for the phrase “martyr leader Khattar
Abdullah.” Based on publicly available reporting, Khattar
Abdullah was a Hizballah commander born near the same city in
Lebanon as KOURANI, Bint Jbeil, and Abdullah was killed during
battle in Syria in approximately March 2015,

'I‘HE DEFEN'DANT’S USE OF IJO
COM/IUNICATIOI\TS SECURITY AN'.D TRADECRAFT

22, Based on my participation in interviews of ALI KOURANI,
a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,”
the defendant, as well as my review of reports relating to

interviews of KOURANI, I know that KOURANI provided the following .~

information to law enforcement, in substance and in part:

a. ' KOURANI was instructed by IJO personnel abroad to
use digital storage media, such as USB drives and memory cards, to
transport pictures and` data. back to Lebanon. relating to his

external operations.

- b. In order tO establish contact with Fadi when
KOURANI returned to Lebanon, KOURANI would call a telephone number
associated with a pager (the “IJO Pager”) and provide a code that
he understood was specific to him. After KOURANI called the IJO

 

3 All translations set forth herein are preliminary and in draft
form.

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Pager, Fadi would contact KOURANI to set up an in~person meeting
by calling a phone belonging to one of KOURANI's relatives,

c. KOURANI and. Fadi used code during operational
communications when KOURANI was outside of Lebanon. Initially,
the code involvedu Fadi, using' marriage~related code, such as
“bride,” to signal to KOURANI that he should return to Lebanon.
After KOURANI married, Fadi communicated similar recall messages
using coded references to a “job” or “employment” prospect in

Lebanon.

d. KOURANI also jprovided. Fadi with the name of a
particular childhood friend of KOURANI, and Fadi established one
or more email accounts using that name for purposes of operational
communications while KOURANI was outside of lebanon. KOURANI
deleted. electronic communications from Fadi immediately' after

reviewing them.

e. In. approximately' 2011 or 2012, Fadi instructed
KOURANI not to use existing operational email accounts or the IJO
Pager, as the IJO assessed that these communications selectors had
been compromised. KOURANI and Fadi did not use email to
communicate regarding IJO operations after approximately 2012.

23. Based on my review of documents and.information relating
to Kourani Email~l and Kourani Email~2 as well as other email
accounts, which were produced by Internet service providers, I am
aware of the following:

a. The email contacts stored in Kourani Email-Z
`contained two email addresses (“Fadi Email~l” and “Fadi Email~2”)
with usernames that are similar to the name of the childhood friend
that ALI KOURANI, a/k/a \Ali Mohamad.Kourani,”.a/k/a “Jacob Lewis,”
a/k/a “Daniel,” the defendant; identified to Fadi, §§e'paragraph

22(d), supra.

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b. . The contact for Fadi Email-l was first saved in the
account associated with Kourani Email~2 in approximately March
2008, and the contact entry relating to Fadi Email~l was last
modified on or about July 1, 2012.

‘ c. Fadi Email-2 was created on or about October 15,
2011, and the user of the account indicated that he or she was
based in Lebanon. The contact for Fadi Email~2 was first saved in.
the account associated with Kourani Email~2 on or about October
19, 2011. Like Fadi Email#l, the contact entry relating to Fadi
Email-2 was last modified on or about July 1, 2012.

d. Consistent with Fadi's instruction that IJO
operational email accounts had been compromised in approximately
2011 or 2012, see paragraph 22(e), supra, there was no message
content stored in Kourani Email~2, Fadi Email~l, or Fadi Email~2,

as of approximately May 2017.

24. Based on my review of documents and information
maintained by federal and state authorities in the United States,
I know that, on or about September 18, 2015, ALI KOURANI, a/k/a

“Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,” the
defendant, departed Beirut, Lebanon, and entered the United States
at John. F. Kennedy International Airport (“JFK”). During' a

secondary inspection, law enforcement personnel determined that
KOURANI's cellphone.did not contain a memory card, but found a
memory card secreted under a travel sticker affixed to KOURANI’s
U.S. passport. The personnel conducting the inspection did not
search the contents of the SIM card.

THE DEFENDANT’S ADDITIONAL IJO MILITARY TR.AINING

25. Based on my participation in interviews of ALI KOURANI,
a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,”
the defendant, as well as my review of reports relating to
interviews of KOURANI, I know that KOURANI provided the following
information to law enforcement, in substance and in part:

a. In approximately July 2011, KOURANI attended an IJO
military training camp, located in the vicinity of Birkat Jabrur,
Lebanon, where he was provided with military~tactics and weaponsf

training.

b. In order to get to the training camp, KOURANI was
picked up by an unknown driver, in a van with blacked~out windows,
in the vicinity of Nabatieh, Lebanon. KOURANI was provided with
a black, balaclava~style mask, which he put on and then got in the

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back of the- van with approximately five or six other IJO
operatives.

c. A total of between approximately 20 and 25 IJO
operatives attended the military training at Birkat Jabrur, which
lasted for approximately two days and two nights.

d. During the training, KOURANI used~--and fired~~~
several weapons. When interviewed by the FBI in 2017, KOURANI
identified, through counsel; photographs of several of the weapons
that he discharged during the 2011 IJO training, including an RPG,
an AK~47 assault rifle, an MP5 submachine gun, a PKS machine gun
(a Russian-made belt-fed anpOn), and a Glock pistol. KOURANI
knew that several of the weapons he used during the training
(including the MP5, PKS, and AK~47) could be fired in “automatic”
mode; he was taught that these firearms could be discharged more
accurately' in semi~automatic mode, and. his IJO trainers were
unhappy when KOURANI fired in automatic mode during the training.4

THE DEFENDANT’S INTELLIGENCE-GATHERING ACTIVITIES IN 'I.‘HE
UNITED S'I.‘ATES ON BEHALF OF THE IJO

26. Based on my participation in interviews of ALI KOURANI,
a/k/a “Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a WDaniel,'
the defendant, as well as my review of reports relating to
interviews of KOURANI, I know that KOURANI provided the following
information to law enforcement, in substance and in part:

a. Fadi directed KOURANI to surveil and collect
information regarding military and intelligence targets in the New
York City area. In response to this tasking, KOURANI conducted
physical surveillance of the following targets: (i) a U.S.
government facility, which includes FBI offices, in Manhattan, New
York; (ii) an U.S. Army National Guard facility in Manhattan, New
York; (iii) a U.S. Secret Service facility in Brooklyn, New York;
and (ivj a U.S. Army Armory facility in Manhattan, New York (“U.S.
Armory-l”). KOURANI used his phone to videotape activity around
at least one of these surveillance targets, transferred the video
footage to a memory card, and brought the memory card to Fadi and
other IJO personnel in Lebanon. KOURANI also used the Internet to
obtain images of at least one of these surveillance targets, and

 

4 Based on my conversations with another agent who has expertise
in firearms, as well as my training and experience, I understand
that the AK 47 assault rifle, MP5 submachine gun, and PKS machine
gun are each firearms capable of firing more than one round through
a single function of the trigger without manual reloading.

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he provided the images to Fadi and other IJO personnel in Lebanon.

b. When. interviewed by the FBI in 2017, KOURANI
identified, through counsel, photographs of the above-referenced
four locations in New York City where he conducted surveillance

for the IJO.

c.\ Fadi directed KOURANI' to surveil and collect
information regarding airports, including the layout of terminals,
the locations of cameras and personnel, and other security
features.5 In response, KOURANI provided detailed information to
Fadi regarding specific security protocols; baggage~screening and
collection practices; and the locations of surveillance cameras,
security personnel, law enforcement officers, and.magnetometers at
JFK and an international airport in another country.

d. Fadi directed KOURANI to cultivate contacts in the
New York City area who could.provide firearms for use in potential
future IJO operations in the United States. KOURANI brought Fadi
a list of individuals he believed could supply firearms, but Fadi
‘_rejected the candidates as unreliable.

e. Fadi directed KOURANI to identify and collect
intelligence regarding individuals in the United States affiliated
with the IDF. KOURANI believed that the IJO gave him this tasking
to facilitate, among other things, assassinations of IDF personnel
in retaliation for the 2008 assassination of Imad Mughniyah, the
former leader of the IJO. KOURANI used a social media account to
identify IDF members or associates in the New York City area, and
he described his search methodology to Fadi. `

f. Consistent with the fraudulent identification
documents seized during the investigation of IJO activities in
Bulgaria and Cyprus, see paragraphs 17(g) and 17(i), supra, Fadi
asked KOURANI if KOURANI could obtain employment at a Department
of Motor Vehicles office in order to facilitate efforts by the IJO
to obtain fraudulent identification documents for use in
operations. KOURANI told Fadi he could not do so because he
believed that it would draw too much attention if someone with his
educational background applied for such a clerical position.

g. Fadi~ directed KOURANI to obtain surveillance
equipment in the United States, including drones, night~vision

 

5 Based on my training and experience, I understand that a standard
tasking to many IJO operatives is to surveil and collect

information regarding airports.

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goggles, and high-powered cameras, so that the underlying
technology could be studied and replicated by the IJO. `

27. Based on.my review of documents and information relating
to Kourani`Email~l, which were produced by an Internet service
provider, I am aware of the following: `

a. In approximately kpril 2011, ALI KOURANI, a/k/a
“Ali Mohamad Kourani,” a/k/a “Jacob Lewis,” a/k/a “Daniel,” the
defendant, viewed a series of Google Maps related to LaGuardia
Airport in Queens, New York, some of which were zoomed in on the

locations of terminals.

b. In approximately April 2012, KOURANI conducted a
series of Internet searches, and viewed images, relating to sniper

rifles.

c. In. approximately' May 2012, KOURANI visited the
website of a company that sells weapons (including firearms), body
armor, uniforms, and tactical gear, 3

d. In approximately February 2013, KOURANI used Google
Maps to view an image of, among other things, a U.S. Armed Forces
Career Center in Queens, New York.

e. In approximately February 2014, KOURANI visited a
website with information relating to manufacturing, repairing, and

operating drones.

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f.' In approximately April 2014, KOURANI conducted an
Internet search and visited a website relating to U.S. Armory~l,
i.e., one of the locations that`KOURANI told the FBI in 2017 that

he surveilled, see paragraph 26(a), supra.

WHEREFORE, the deponent respectfully requests that a warrant

be issued and that ALI KOURANI, a/k/a “Ali Mohamad Kourani,” a/k/a
“Jacob lewis,” a/k/a “Daniel, ” the defendant, be arrested and

imprisoned, or bailed, as the case m;z§§:.

JosEH§;p/'(cosTELLo@
Special Agent, FBI

Sworn to before me this
` 31st Day of May, 2017

  
 
 

 

 

HONORIL.BLE rA*I‘HAaINs 1119 PARKER
United States Magistrate Judge
` f New York

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EXH|B|T B

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United States Department of Justice

CONSENT TO SEARCH
COMPUTER/ ELECTRONIC EQUIPMENT/SOCIAL MEDIA ACC OUNTS

I, Ali Kourani, have been asked to give my consent to a search, Ihave also been informed

of my right to refuse to consent to such a search and discussed my rights with my attorney, Peggy

Cross~Goldenberg.
I hereby authorize personnel from the F ederal Bureau of lnvestigation (“FBI”_) and the

United States Attorney’s Oft`lce for the Southern District of New York (“USAO-SDNY”) to

search:
The following storage media or electronic devices:

SAMSUNG SM-G930T Ce]lphone With IMEI 355916071882540

Password: 8413

The following social media and electronic accounts:
ali.in.kourani@gnlail.conl

aljkuku@hotlnail.conl

jacobfashion@hotmail.conl
holy.smoke.shop.frank]in@gnlail.conl

~j acob.kouran@gnlail.conl

Wmc.sportswear@gmail.conl »%G

Dropbox account associated With ali.m:kourani@gnlail.com
Dropbox account associated With alikuku@hotnlail.com
Twitter account associated with `ali.ln.kourani@gmail.com
Twitter account associated with alikuku@hotmail.coln
Instagram account associated With ali.ln.kouranj@gnlail.conl
Instagranl account associated With alikuku@hotnlail.coln

1nstagram account associated with jacob.kouran@gnlail.conl

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l consent that search may be for any purpose, and that the Search may include the examination
of computer data and the use of forensic review techniques l consent to the search occurring at
any time, for any length of time, and at any location.

If any of the devices/accounts described above are protected with a password and/or
encrypted, I consent to the use of my passwords and/or encryption keys to access the data.

l certify that l have a light to access or use these devices/ accounts and all information found
in them. I understand that any contraband or evidence on these devices/accounts may be used
against me in a court of law,

l relinquish any constitutional light to privacy in these devices/accounts and any_
information stored on them.

l authorize the FBI and the USAO~SDNY to search, and to make and keep a copy of any
information stored on these devices/accounts '

l understand that any such copy will not be my property and that l will have no privacy or
possessory interest irl the copy. '

This written permission is given by me voluntarily l have not been threatened, placed
under duress, or promised anything in exchange for my consent l have read this form, or it has
been read to me, and l understand it.

l understand the English language and.have been able to communicate with the agents/ officers

Ali lio/ //:£rn/ Date and time

/1/\, .
Peggy »ross-Goldenberg, counsel or Ali Kourani

 

 

Witness

 

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UNITED STATES DISTRICT g?URT MAG § 2 9 1

SOUTHERN DISTRICT OF NEW YORK
In the Matter of Warrants 'for All l
Content and Other Information §
Associated With Two DropboX
Accounts, Maintained at Premises `
Controlled by Dropbox, Inc.

SEARCH WARRANT
TO: DropboX, lnc. (“Provider”)

Federal Bureau of Investigation (“Investigative Agency”)

l. Warrant. Upon an Affidavit of a federal law enforcement officer in connection with
an investigation being conducted by the Investigative Agency, pursuant to the provisions of the
Stored Communications Act, 18 U.S.C. §2703(b)(l)(A) and §2703(c)(l)(A), and the relevant
provisions of Federal Rule of Crirninal Procedure 41, the Court hereby finds there is probable
cause to believe that the DropboX accounts associated with the email addresses
ali.m.kourani@gmail.com and alikuku@hotmail.com (the “Subject Accounts”), which are
maintained at premises controlled by the Provider, contain evidence, fruits, and instrumentalities
of ciime, all as specified in Attachment A hereto. Accordingly, the Provider is hereby directed to
provide to the Investigative Agency, within 10 days of the date of service of this Warrant and
Order, the records specified in Section II of Attachment A hereto, for Subsequent review by law
enforcement personnel as authorized in Section ill of Attachment A, a copy of which Shall not be
transmitted to the Provider. The Government is required to serve a copy of this Warrant and Order
on the Provider within 14 days of the date of issuance The Warrant and Order may be served via

electronic transmission or any other means through which the Provider is capable of accepting

service.

 

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3. Sealing. lt is further ordered that this Warrant and Order, and the Affidavit upon which
it was issued, be filed under seal, except that the Governrnent may without further order of this
Court serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant and
Order as need be to personnel assisting the Government in the investigation and prosecution of
. this matter; and disclose these materials as necessary to comply with discovery and disclosure
obligations in any prosecutions related to this matter.

Dated: New York, New York

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Date lssued 1 Time lssued

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1 HoNoRABrE HENRY B PiTMAN

niteo States Magistrate Judge
Southern District or f»l\lew York

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6.6.2017

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Search Warrant Attachment A
I.Subject Accounts and Execution of Warrant

This warrant is directed to DropboX, lnc. (the “Provider”), with offices in San Francisco,
California, and applies to all content and other information within the Provider’s possession,
custody, or control associated with the DropboX accounts associated with the email addresses
ali.m.kourani@gmail.com and alil<uku@hotmail.com (the “Subj ect Accounts”).

A law enforcement officer will Serve this warrant by transmitting it Via email or another
appropriate manner to the Provider. The Provider is directed to produce to the law enforcement
officer an electronic copy of the information specified in Section ll below. Upon receipt of the
production, law enforcement personnel will review the information foritems falling within the
categories specified in Section Ill below, which is not to be transmitted to the Provider.

II.Information to be Produced by the Provider

To the extent within the Provider’s possession, custody, or control, the Provider is directed ‘
to produce the following information associated with the Subj ect Accounts:
a. Subscriber Information. All Subscriber information associated with the Subject
Accounts, including: (l) names provided by the DropboX user; (2) email addresses provided by
the DropboX user; (3) the time and date of account registration; (4) the type of account; (5) the IP
address recorded for the last account access; (6) lP addresses recorded for account logins; and
(7) devices associated with a DropboX account.
b. User Actz`viiy Log. Logs of actions taken by users of the Subject Accounts,
including records of lo gin times and methods used to connect to the account (such as logging into

the account through DropboX’s website).

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c. Fz'le Acz‘z'vz'ly Log. All records relating to file account activity associated with
the Subj ect Accounts, including dates and times when files Were deleted or added, or when a shared
folder was added to the user’s account.

d. Cusz‘omer Correspondence. Records of any customer service contacts with or
about the user of the Subj ect Accounts.

e. Accoum‘ Com‘em‘. All content information associated with the Subj ect
Accounts, including audio, video, image, and text files shared and saved through DropboX.

f. Preserved and Backup Records. Any preserved copies of the foregoing
categories of records with respect to the Subj ect Accounts. ` ~ l

III.Review of Information by the Government

Law enforcement personnel (who may include, in addition to law enforcement officers and
agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under government control) are
authorized to review the records produced by the Provider in order to locate any evidence, fruits,
and instrumentalities of (i) Title 18, United States Code, Section 2339B (providing, attempting to
provide, and conspiring to provide material support or resources to a designated foreign terrorist
organizations (“FTO”)); (ii) Title 18, United States Code, Sections 2339D and 371 (receipt of, and
attempting and conspiring to receive, military-type training from an FTO); (iii) Title 18, United
States Code, Section 924 (firearms offenses related to crimes of violence); (iv) Title 50, United
States Code, Section 1705 (mal<ing or receiving a contribution of funds, goods, and services to and
from a specially designated terrorist); (v) Title 18, United States Code, Section 1001 (making false
statements or omissions in any matter within the jurisdiction of the executive, legislative, or

judicial branch of the Government of the United States); and (vi) Title 18, United States Code,

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6.6.2017

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Section 1425 (procurement of citizenship or naturalization unlawfully) (the “Subject Offenses”j,

including the following:

6.6.2017

Communications relating to the Subject Offenses, including communications relating
to the provision of support to Hizballah, the receipt of military-type training from
Hizballah, taskings on behalf of Hizballah, surveillance conducted for Hizballah, the
use and acquisition of weapons, and the making of false statements to the U.S.
government; '

evidence of the identity(ies) of the user(s) of the Subj ect Accounts;

evidence of the identities and locations of co-conspirators in the Subject Offenses,
including photographs of and communications with such individuals ;

evidence of participation in the Subj ect Offenses by the user(s) of the Subj ect Accounts
and others, including records relating to travel and financial transactions in furtherance
of the Subject Offenses;

evidence related to banks and other financial institutions at which the user(s) of the
Subj ect Accounts conduct business, including, potentially, transactions in furtherance
of the Subject Offenses;

evidence of other online accounts the user(s) of the Subject Accounts, including
potentially for operational activity or otherwise in furtherance of the Subj ect Offenses;
and d

passwords or other information needed to access user’s computer or other online

accounts.

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UNlTED STATES DlSTRlCT COURT
SOUTHERN DlSTRlCT OF NEW YORK

ln the Matter of a Warrant for All 1
Content and Other lnformation §

Associated with Three Email § 4
Accounts, Maintained at Premises § _
Controlled by Google, lnc.

USAO Reference No. 2017R00116.

SEARCH.WARR_ANT
TO: Google, lnc. (“Provider”)

F ederal Bureau of lnvestigation (“lnvestigative Agency”)

1. Warrant. Upon an affidavit of a Special Agent from the lnvestigative Agency, and
pursuant to the provisions of the Stored Communications Act, 18 U.S.C. §2703(b)(l)(A) and
§ 2703(0)(1)(A), and the relevant provisions of F ederal Rule of Criminal Procedure 41, the Court
hereby finds there is probable cause to believe the Google Accounts associated with the email
addresses holy.smoke.shop.franklin@gmail.com, jacob.kouran@gmail.com,
wmc.sportswear@gmail.com, which are maintained at premises controlled by Provider, contains
evidence, fruits, and instrumentalities of crime, all as specified in Attachment A hereto.
Accordingly, the Provider is hereby directed to provide to the lnvestigative Agency, within 30
days of the date of service of this Warrant and Order, the records specified in Section ll of
Attachment A hereto, for subsequentlreview by law enforcement personnel as authorized in
Section lll of Attachment A, a copy of which shall not be transmitted to the Provider. The
Government is required to serve a copy of this Warrant and Order on the Provider within 14 days
of the date of issuance. The Warrant and Order may be served via electronic transmission or any

other means through Which the Provider is capable of accepting service.

 

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3. Sealing. lt is further ordered that this Warrant and Order, and the Affidavit upon which
it was issued, be filed under seal, except that the Government may without further order of this l
Court serve the Wairant and Order on the Provider; provide copies of the Affidavit or Warrant and
Order as need be to personnel assisting the Government in the investigation and prosecution of
this matter; and disclose these materials as necessary to comply with discovery and disclosure
obligations in any prosecutions related to this matter.

Dated: New York, New York

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Email Search Attachment A
I.Subject Account and Execution of Warrant

This warrant is directed to Google, Inc. (the ;‘Provider”), headquartered in Mountain View,
California, and applies to all content and other information within the Provider’s possession,
custody, or control associated with the Google Accounts related to the email addresses
holy.smoke.shop.franklin@gmail.corn, jacob.l<ouran@gmail.corn, wmc.sportswear@gmail.corn
(the “Subject Accounts”).

A law enforcement officer will serve this warrant by transmitting it via email or another
appropriate manner to the Provider. The Provider is directed to produce to the law enforcement
officer an electronic copy of the information specified in Section II below, Upon receipt of the
production, law enforcement personnel will review the information for items falling within the
categories specified in Section III below, a copy of which shall not be transmitted to the Provider.

II.Information to be Produced by the Provider

To the extent within the Provider’s possession, custody, or control, the Provider is directed
to produce the following information associated with the Subj ect Accounts:

a. Email Content All emails sent to or from, stored in draft form in, or otherwise
associated with the Subject Accounts, including all message content, attachments, and header
information (Specifically including the source and destination addresses associated with each
email, the date and time at which each email was sent, and the size and length of each email);

b. Search Hisl‘ory. All data concerning searches run by the user of the Subj ect Accounts,
including, but not limited to, the content, date, and time of the search.

c. Google+ Phol‘os and Content All data concerning Google+ Photos, including all
albums, photos, videos, and associated metadata for each file, as well as all Google+ posts,

comments, profiles, contacts, and information relating to Google+ Circles.

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d. Google Drive Content All files and folders in the Google Drive associated with the
Subj ect Accounts.

e. Google Wallet Content All data and information in the Google Wallet associated with
the Subj ect Accounts.

f YouTube Content F or any YouTube account associated with the Subject Accounts, all
subscriber information as well as copies of any videos and associated metadata and any YouTube
comments or private messages.

g. Android Content Any Android device information associated with the Subject
Accounts, including IMEI/MEID, make and model, serial number, date and IP of last access to
Google, and a list of all accounts that have ever been active on the device.

h. Preserved or backup records Any preserved or backup copies of any of the foregoing
categories of records, whether created in response to a preservation request issued pursuant to 18
U.S.C. § 2703(f) or otherwise.

i. Address Book ]nformatz`on. All address l bool<, contact list, or' similar information
associated with the Subj ect Accounts.

j. Subscriber and Payment Informatz'on. All subscriber and payment information
regarding the Subject Accounts, including but not limited to name, usemame, address, telephone
number, alternate email addresses, registration IP address', account creation date, account status,
length of service, types of services utilized, means and source of payment, and payment history.

k. Transactz`onal Records. All transactional records associated with the Subj ect Accounts,

including any IP logs or other records of session times and durations.

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l. Customer Correspondence. All correspondence with the subscriber or others
associated with the Subj ect Accounts, including complaints, inquiries, or other contacts with
support Services and records of actions taken.

m. Location History. Location data from mobile devices that are logged into or have used
applications (or “apps”) or services provided by Google related to the Subj ect Accounts.

n. Preserved Records. Any preserved copies of any of the foregoing categories of records
created in response to any preservation request(s) issued pursuant to 18 U.S.C. § 2703(f).

III.Review of Information by the Government

Law enforcement personnel (who may include, in addition to law enforcement officers and
agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under government control) are
authorized to review the records produced by the Provider in order to locate any evidence, fruits,
and instrumentalities of (i) Title 18, United States Code, Section 2339B (providing, attempting to
provide, and conspiring to provide material support or resources to a designated foreign terrorist
organizations (“FTO”)); (ii) Title 18, United States Code, Sections 2339D and 371 (receipt of, and
attempting and conspiring to receive, military-type training from an FTO); (iii) Title 18, United
States Code, Section 924 (firearrns offenses related to crimes of violence); (iv) Title 50, United
States Code, Section 1705 (making or receiving a contribution of funds, goods, and Services to and
from a specially designated terrorist); (v) Title 18, United States Code, Section 1001 (making false
statements or omissions in any matter within the jurisdiction of the executive, legislative, or
judicial branch of the Govemment of the United States); and (vi) Title 18, United States Code,
Section 1425 (procurement of citizenship or naturalization unlawfully) (the “Subject Offenses”),

including the following:

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Communications relating to the Subj ect Offenses, including communications relating
to the provision of support to Hizballah, the receipt of military-type training from
Hizballah, taskings on behalf of Hizballah, surveillance conducted for Hizballah, the
use and acquisition of weapons, and the making of false statements to the U.S.
government;

evidence of the identity(ies) of the user(s) of the Subj ect Accounts;

evidence of the identities and locations of co-conspirators in the Subject Offenses,
including photographs of and communications with such individuals;

evidence of participation in the Subj ect Offenses by the user(s) of the Subj ect Accounts
and others, including records relating to travel and financial transactions in furtherance
of the Subj ect O_ffenses;

evidence related to banks and other financial institutions at which the user(s) of the
Subj ect Accounts conduct business, including, potentially, transactions in furtherance
of the Subj ect Offenses;

evidence of other online accounts the user(s) of the Subject Accounts, including
potentially for operational activity or otherwise in furtherance of the Subj ect Offenses;
and 1

passwords or other information needed to access user’s computer or other online

accounts.

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UNITED STATES DISTRICT COURT
SOUTHERN DlSTRlCT OF NEW YORK

ln the Matter of a Warrant for All 1

Content and Other lnformation § `
Associated with Three lnstagram Q:))
Accounts, Maintained at Premises
Controlled by lnstagram LLC and
Facebook, lnc.

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SEARCH WARRANT ‘
TO: lnstagram LLC and Facebook, lnc. (collectively, the “Provider”) l
Federal Bureau of lnvestigation (the “lnvestigative Agency”) 1
l. Warrant. Upon an Affidavit of a federal law enforcement officer in connection with
an investigation being conducted by the lnvestigative Agency, and pursuant to the provisions of
the Stored Communications Act, 18 U.S.C. § 2703(b)(l)(A) and § 2703(0)(1)(A), and the relevant
provisions of Federal Rule of Criminal Procedure 4l, the Court hereby finds there is probable
cause to believe the lnstagram accounts associated with the email addresses
ali.m.kourani@gmail.com, alikuku@hotmail.com, jacob.kouran@gmail.com (the “Subject
Accounts”), which are maintained at premises controlled by the Provider, contain evidence, fruits,
and instrumentalities of crime, all as specified in Attachment A hereto. Accordingly, the Provider
is hereby directed to provide to the lnvestigative Agency, within 30 days of the date of service of
this Search Warrant, the records specified in Section ll of Attachment A hereto, for subsequent
review by law enforcementpersonnel as authorized in Section lll of Attachment A, a copy of
which shall not be transmitted to the Provider. The Govemment is required to serve a copy of this

Search Warrant on the Provider within 14 days of the date of issuance. The Search Warrant may

 

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be served via electronic transmission or any other means through which the Provider is capable of
accepting service.

3. Sealing. lt is further ordered that this Warrant and Order, and the Affidavit upon which
it was issued, be filed under seal, except that the Government may without further order of this
Court serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant and
Order as need be to personnel assisting the Government in the investigation and prosecution of
this matter; and disclose these materials as necessary to comply.with discovery and disclosure

obligations in any prosecutions related to this matter.

Dated1:1New<York, New York

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HoNoaABLiz/HE\UY B PITMAN‘
United States Maglstrate Judge

Southern District of New York

6,6.2017

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Attachment A
I.Subj ect Account and EXecution of Warrant

This warrant is directed to lnstagram LLC and Facebook, lnc. (collectively, the “Provider”)
and applies to all content and other information within the Provider’s possession, custody, or
control associated with the 1nstagram accounts associated with the email addresses
ali.m.kourani@gmail.com, alikul<u@hotrnail.com, jacob.kouran@gmail.com (the “Subject
Accounts”).

A law enforcement officer will serve this warrant by transmitting it Via email or another
appropriate manner to the Provider. The Provider is directed to produce to the law enforcement
officer an electronic copy of the information specified in Section ll below, Upon receipt of the
production, law enforcement personnel will review the information for items falling within the
categories specified in Section lll below, which is not to be transmitted to the Provider.

II.Information to be Produced by the Provider

To the extent within the Provider’s possession, custody, or control, the Provider is directed
to produce the following information associated with the Subj ect Accounts:

a. Any “posts,” photographs, images, or Videos and associated metadata
associated with the Subject Account, including any galleries of photographs, images, or Videos
shared by the Subj ect Accounts, even if those photographs, images,‘or Videos were uploaded from
another service ;

b. All geolocation information for all photographs uploaded by the Subject
Accounts;

c. Any stored electronic messages and other stored content information, including

all associated metadata, presently maintained in, or on behalf of, the Subject Accounts, and all

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existing printouts from original storage of messages associated with the Subject Accounts,
including all header information associated,with such messages;

d. Any personal profile page information and any associated metadata, including
but not limited to full name, user identification number, birth date, contact email addresses,
physical addresses (including city, state, and Zip code), telephone numbers, screen names,
websites, and other personal information for the user;

e. Any lists of other users who are “following” or who are “followed” by the
Subject Accounts, any groups of users or “lists” that the Subject Account follow or are followed
by, and any recommendations of users to follow;

f. All communications and messages made or received by the Subj ect Accounts,
including all accepted, rejected and pending “Follow” requests; l

g. All transactional information concerning activity associated with the Subject
Accounts, including lntemet protocol address logs, cookie data, and all associated metadata;

h. All business records and subscriber information, in any form kept, concerning
the Subj ect Accounts, including applications, account creation date and time, all full names, screen
names, and account names associated with the subscribers, methods of payment, telephone
numbers, addresses, and detailed billing records;

i. All records indicating the services available to subscribers of the Subject
Accounts;

j. All privacy settings and other account settings, including any currently valid or
previously used passwords, secret question/answers, or other login information associated with the

Subj ect Accounts; and

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k. All records pertaining to communications between the Provider and any person
regarding the Subject Account, including contacts With support services and records of actions

tal<en.

III.Review of Information by the Government

Law enforcement personnel (Who may include, in addition to law enforcement officers and
' agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under govemment control) are
authorized to review the records produced by the Provider in order to locate any evidence, fruits,
and instrumentalities of (i) Title 18, United States Code, Section 2339B (providing, attempting to
provide, and conspiring to provide material support or resources to a designated foreign terrorist
organizations (“FTO”)); (ii) Title 18, United States Code, Sections 2339D and737l (receipt of, and
attempting and conspiring to receive, military-type training from an FTO); (iii) Title 18, United
States Code, Section 924 (firearms offenses related to crimes of violence); (iv) Title 50, United
States Code, Section 17(_)5 (mal<ing or receiving a contribution of funds, goods, and services to and
from a specially designated terrorist); (v) Title 18, United States Code, Section 1001 (mal<ing false
statements or omissions in any matter within the jurisdiction of the executive, legislative, or
judicial branch of the Government of the United States); and (vi) Title 18, United States Code,
Section 1425' (procurement of citizenship or naturalization unlawfully) (the “Subject Offenses”),
including the following:
0 Communications relating to the Subject Offenses, including communications relating
to the provision of support to Hizballah, the receipt of military-type training from

Hizballah, taskings on behalf of Hizballah, surveillance conducted for Hizballah, the

6.6.2017

6.6.2017

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use and acquisition of weapons, and the making of false statements to the U.S.
government; l

evidence of the identity(ies) of the user(s) of the Subj ect Accounts;

evidence of the identities.and locations of co-conspirators in the Subject Offenses,
including photographs of and communications with such individuals;

evidence of participation in the Subj ect Offenses by the user(s) of the Subject Accounts
and others, including records relating to travel and financial transactions in fiirtherance
of the Subject Offenses;

evidence related to banks and other financial institutions at which the user(s) of the
Subj ect Accounts conduct business, including, potentially, transactions in fiirtherance
of the Subj ect Offenses;

evidence of other online accounts the user(s) of the Subject Accounts, including
potentially for operational activity or otherwise in fiirtherance of the Subj ect Offenses;
and

passwords or other information needed to access user’s computer or other online

accounts.

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UNITED STATES DISTRICT COU}I 7 MAG § 2 9 1

SOUTHERN DlSTRlCT OF NEW YORK
ln the Matter of a Warrant for All §
Content and Other Information §
Associated with the Email Account
jacobfashion@hotmail.com, 1
Maintained at Premises Controlled by .`
Microsoft Corporation. ` C\)

USAO Reference No. 2017R001 16.

SEARCH WARRANT
TO: Microsoft Corporation (“Provider”)

Federal Bureau of Investigation (“lnvestigative Agency”)

1. Warrant Upon an affidavit of a Special Agent from the Investigative Agency, and
pursuant to the provisions of the Stored Communications Act, 18 U.S.C. § 2703(b)(l)(A) and`
§ 2703(0)(1)(A), and the relevant provisions of F ederal Rule of Criminal Procedure 4l, the Court
hereby finds there is probable cause to believe the email account jacobfashion@hotmail.com,
maintained at premises controlled by Provider, contains evidence, fruits, and instrumentalities of
crime, all as specified in Attachment A hereto. Accordingly, the Provider is hereby directed to
provide to the Investigative Agency, within 30 days of the date of service of this Warrant and
Order, the records specified in Section ll of Attachment A hereto, for subsequent review by law
enforcement personnel as authorized in Section lll of Attachment A, a copy of which shall not be
transmitted to the Provider. The Government is required to serve a copy of this Warrant and Order
on the Provider within 14 days of the date of issuance. The Warrant and Order may be served via
electronic transmission or any other means through which the Provider is capable of accepting

service.

 

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3. Sealing. lt is further ordered that this Warrant and Order, and the Affidavit upon which
it was issued, be filed under seal, except that the Government may without further order of this
Court serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant and
Order as need be to personnel assisting the Government in the investigation and prosecution of
this matter; and disclose these materials as necessary to comply with discovery and disclosure
obligations in any prosecutions related to this matter.

Dated: New York, New York
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Case 1:17-cr-OO417-AKH Documerjt 31-7 Filed 01/29/18 Page 67 of 74

Email Search Attachment A

I.Subject Account and Execution of Warrant

This Warrant is directed to Microsoft Corporation (the “Provider”), headquartered at
Redmond, Washington, and applies to all content and other information Within the_ Provider’s
possession, custody, or control associated With the email account jacobfashion@hotmail.com (the `
“Subj ect Account”).

A law enforcement officer will serve this Warrant by transmitting it via email or another
appropriate manner to the Provider. The Provider is directed to produce to the law enforcement
officer an electronic copy of the information specified in Section ll below. Upon receipt of the
production, law enforcement personnel Will review the information for items falling Within the
categories specified in Section lll below, a copy of Which shall not be transmitted to the Provider.

II.Information to be Produced by the Provider

To the extent Within the Provider’s possession, custody, or control, the Provider is directed
to produce the following information associated With the Subj ect Account:

a. Email Content All emails sent to or from, stored in draft form in, or otherwise
associated with the Subject Account, including all message content, attachments, and header
information (specifically including the source and destination addresses associated With each
email, the date and time at Which each email Was sent, and the size and length of each email);

b. Address Book Informaz‘z`on. All address book, contact list, or similar information
associated with the Subj ect Account.

c. Subscriber and Paymem‘ Informaz‘ion. All subscriber and payment information
regarding the Subject Account, including but not limited to name, username, address, telephone
number, alternate email addresses, registration lP address, account creation date, account status,»

length of service, types of services utilized, means and source of payment, and payment history.

6.6.2017

Case 1:17-cr¥00417-AKH Document 31-7 Filed 01/29/18 Page 68 of 74

Communications relating to the Subj ect Offenses, including communications relating
to the provision of support to Hizballah, the receipt of military-type training from
Hizballah, taskings on behalf of Hizballah, surveillance conducted for Hizballah, the
use and acquisition of weapons, and the making of false statements to the U.S.
government

evidence of the identity(ies) of the user(s) of the Subj ect Account;

evidence of the identities and locations of co-conspirators in the Subject Offenses,
including photographs of and communications with such individuals ',

evidence of participation in the Subj ect Offenses by the user(s) of the Subject Account
and others, including records relating to travel and financial transactions in furtherance
of the Subject Offenses;

evidence related to banks and other financial institutions at which the user(s) of the
Subj ect Account conduct business, including, potentially, transactions in furtherance
of the Subj ect foenses;

evidence of other online accounts the user(s) of the Subject Account, including
potentially for operational activity or otherwise in furtherance of the Subj ect Offenses;
and

passwords or other information needed to access user’s computer or other online

accounts.

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UNITED sTATEs DISTRICT C RCZ< ,
soUTHERN DlsTRrCT oF NE\?JL MAG- § 2 9 l
ln the Matter of Warrants for All
Content and Other lnformation §
Associated With Two Twitter
Accounts, Maintained at Premises `

Controlled by Twitter, lnc. CK\\

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SEARCH WARRANT
TO: Twitter, lnc. (“Provider”)

Federal Bureau of lnvestigation (“lnvestigative Agency”)

l. Warrant. Upon an Affidavit of a federal law enforcement officer in connection with
an investigation being conducted by the lnvestigative Agency, pursuant to the provisions of the
Stored Communications Act, 18 U.S.C. § 2703(b)(1)(A) and § 2703(0)(1)(A), and the relevant
provisions of Federal Rule of Criminal Procedure 41, the Court hereby finds there is probable
cause to believe that the Twitter accounts associated with the email addresses
ali.m.kourani@gmail.com and alikuku@hotmail.com (the “Subj ect Accounts”), which are
maintained at premises controlled by the Provider, contain evidence, fruits, and instrumentalities
of crime, all as specified in Attachment A hereto. Accordingly, the Provider is hereby directed to
provide to the lnvestigative Agency, within 10 days of the date of service of this Warrant and
Order, the records specified in Section ll of Attachment A~hereto, for subsequent review by law
enforcement personnel as authorized in Section lll of Attachment A, a copy of which shall not be
transmitted to the Provider. The Government is required to serve a copy of this Warrant and Order
on the Provider within 14 days of the date of issuance The Warrant and Order may be served via
electronic transmission or any other means through which the Provider is capable of accepting

service.

 

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3. Sealing. lt is further ordered that this Warrant and Order, and the Affidavit upon
which it was issued, be filed under seal, except that the Government may without further order of
this Couit serve the Warrant and Order on the Provider; provide copies of the Affidavit or Warrant
and Order as need be to personnel assisting the Government in the investigation and prosecution
of this matter; and disclose these materials as necessary to comply with discovery and disclosure
obligations in any prosecutions related to this matter.

Dated: New York, New York
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;Hor~ oRABLE HENRY B. PITMAN
U,riit ed States Magistrate Judge

Southern District of New York

6.6.2017

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Search Warrant Attachment A

I.Subj ect Accounts and Execution of Warrant

This warrant is directed to Twitter, lnc. (the “Provider”), with offices in San Francisco,
California, and applies to all content and other information within the Provider’s possession,
custody, `or control associated with the Twitter accounts associated with the email addresses
ali.m.kourani@gmail.com and alikuku@hotmail.com (the “Subj ect Accounts”).

A law enforcement officer Will serve this warrant by transmitting it via email or another
appropriate manner to the Provider. The Provider is directed to produce to the law enforcement
officer an electronic copy of the information specified in Section ll beloW. Upon receipt of the
production, law enforcement personnel Will review the information for items falling within the
categories specified in Section lll below, Which is not to be transmitted to the Provider.

II.Information to be Produced by the Provider

To the extent within the Provider’s possession, custody, or control, the Provider is directed
to produce the following information associated With the Subj ect Accounts:

a. Projile Information. Any personal profile page infoimation, including but not
limited to biographical entries, photographs, and location information for the user of the Subject
Accounts.

b. Tweet Information. Any tweets and related information, including any
“favorite” or “retweet” information, any “mentions,” any lists in the “Connect” tab of other users
who have responded to any tweets from the Subj ect Account, and “Tweet With Location”
information,

c. Photographs/]mages. Any photographs or images associated With each Subj ect
Account, including any galleries of photographs or images shared by the Subj ect Account, even if

those photographs or images Were uploaded from another service.

 

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d. Link Information. Any websites to which the Subject Accounts have linked, as
well as any information concerning how often those links have been clicked.

e. Associated Users. Any lists of other users who are “following” or who are
“followed” by each Subject Account, any groups of users or “lists” that the Subject Accounts
follow or are followed by, and any recommendations of users to follow, such as any “Who To
Follow” lists.

f. Dz'recz‘ Messages. Any direct messages sent to or by the Subject Accounts, and
any related information,

g. Subscriber and Billz`ng Informatz'on. Any records (l) showing identifying
information about each subscriber, including, for example, name, username, address, telephone
number, and alternate email addresses ; (2) concerning the date on which the account was created,
the lP address of the user at the time of account creation, the current status of the account (e.g.,
active or closed), the length of service, and the types of services used by the subscriber; and (3)
reflecting the subscriber’s means and source ofpayment, including any credit card or bank account
number.

h. Search Information. Any records concerning searches performed by the Subject
Accounts.

i. Thz'rd-parly Informatz'on. Any records reflecting third-party websites with
which the Subject Accounts are connected.

j. Transactional Informaz‘z`on. Any records of transactional information about the
use of the Subject Accounts on its system, including records of login (i.e., session) times and
durations and the methods used to connect to the account (such as logging into the account through

the Provider’s website).

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k. Customer Correspondence. Any records of any customer-service contacts with
or about the subscribers, including any inquiries or complaints concerning the subscriber’s
account(s).

l. Preserved Records. Any preserved copies of the foregoing categories of records
with respect to the Subj ect Accounts.

III.Review of Information by the Government

Law enforcement personnel (who may include, in addition to law enforcement officers and
agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under government control) are
authorized to review the records produced by the Provider in order to locate any evidence, f`ruits,
and instrumentalities of (i) Title 18, United States Code, Section 2339B (providing, attempting to
provide, and conspiring to provide material support or resources to a designated foreign terrorist
organizations (“fTO”)); (ii) Title 18, United States Code, Sections 23 39D and 371 (receipt of, and
attempting and conspiring to receive, military-type training from an FTO); (iii) Title 18, United
States Code, Section 924 (firearms offenses related to crimes of violence); (iv) Title 50, United
States Code, Section 1705 (making or receiving a contribution of funds, goods, and services to and
nom a specially designated terrorist); (v) Title 18, United States Code, Section 1001 (making false
statements or omissions in any matter within the jurisdiction of the executive, legislative, or
judicial branch of the Government of the United States); and (vi) Title 18, United States Code,
Section 1425 (procurement of citizenship or naturalization unlawfully) (the “Subject Offenses”),
including the following:

0 Communications relating to the Subject Offenses, including communications relating

to the provision of support to Hizballah, the receipt of military-type training from

6.6.2017

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Hizballah, taskings on behalf of Hizballah, surveillance conducted for Hizballah, the
use and acquisition of weapons, and the making of false statements to the U.S.
govemment;

evidence of the identity(ies) of the user(s) of the Subj ect Accounts;

evidence of the identities and locations of co-conspirators in the Subject Offenses,
including photographs of and communications with such individuals;

evidence of participation in the Subj ect Offenses by the user(s) of the Subj ect Accounts
and others, including records relating to travel and financial transactions in furtherance
of the Subject Offenses;

evidence related to banks and other financial institutions at which the user(s) of the

' Subj ect Accounts conduct business, including, potentially, transactions in furtherance

of the Subj ect Offenses;

evidence of other online accounts the user(s) of the Subject Accounts, including
potentially for operational activity or otherwise in furtherance of the Subj ect Offenses;
and

passwords or other information needed to access user’s computer or other online

accounts.

